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                           2023-2163, 2023-2164


                                       IN THE
               United States Court of Appeals
                   for the Federal Circuit
                             ________________________________


       GUIZHOU TYRE CO., LTD. CO., LTD., GUIZHOU TYRE
     IMPORT AND EXPORT CO., LTD., AEOLUS TYRE CO., LTD.,
                                                                Plaintiffs Appellants,
 QINGDAO FREE TRADE ZONE FULL-WORLD INTERNATIONAL
   TRADING CO., LTD., XUZHOU XUGONG TYRES CO., LTD.,
TRELLEBORG WHEEL SYSTEMS (XINGTAI) CO., LTD., QINGDAO
QIHANG TYRE CO., LTD., WEIHAI ZHONGWEI RUBBER CO., LTD.,

                                                                Plaintiffs,

                                           v.

                          UNITED STATES,
                                                                Defendant-Appellee.
       Appeal from the United States Court of International Trade in
           Case No. 17-cv-00100, Judge Timothy C. Stanceu

 MOTION TO WAIVE REQUIREMENT FOR COMBINED BRIEF
OR, ALTERNATIVELY, TO SEVER CONSOLIDATED CASES, AND
FOR 14-DAY EXTENSION OF TIME TO FILE COMPLIANT BRIEF

      Plaintiffs-Appellants Guizhou Tyre Co., Ltd. and Guizhou Tyre

Import and Export Co., Ltd., (collectively, “Guizhou”) and Aeolus Tyre Co.,

Ltd. (“Aeolus”) respectfully request that this Court waive the requirement of

Fed. Cir. R. 28(i)(2) that they file a combined brief, and instead allow each

Plaintiff-Appellant to file its own company-specific brief. Alternatively, we

request that this Court sever the consolidated cases so that Guizhou and
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Aeolus may each file separate briefs. Good cause supports this request, as

set forth below.

                             BACKGROUND

      Guizhou and Aeolus are completely separate Chinese exporters of

new pneumatic off-the-road-tires (“OTR”) from the People’s Republic of

China (“China”). They each participated in the U.S. Department of

Commerce’s (“Commerce”) seventh administrative review (“AR7”) of the

antidumping duty (“ADD”) order on OTR from China and their participation

was confined to their own company-specific facts and circumstances. They

each in AR7 submitted questionnaire responses to Commerce consisting of

hundreds of pages of information, much of which was specific to their

company and also consisted of company-specific business proprietary

information (“BPI”). Commerce in AR7 found both Guizhou and Aeolus to

be a part of the “China-wide entity.” OTR from China, 82 Fed. Reg. 18,733,

18,734-35 (Apr. 21, 2017), Appx90-91.1 These decisions were based on

facts, including BPI, specific to each company. Id., Issues and Decision

Memorandum Comment 1A (Aeolus), Appx55-58, Comment 1B (Guizhou),

Appx58-61.



1
      The relevant Joint Appendix pages are attached to this Motion.
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      Guizhou and Aeolus in May 2017 filed separate appeals of AR7 at the

U.S. Court of International Trade (“CIT”), CIT Case Nos. 17-00100 and 17-

00102, respectively, that the CIT in June 2017 consolidated under that of

Guizhou, CIT Consol. Case No. 17-00100. See CIT Consol. Case No. 17-

00100 Docket Sheet, Appx217-219. Guizhou and Aeolus in January 2018

filed separate motions and briefs challenging Commerce’s respective AR7

determinations. Id., Appx221-222. When the CIT ordered remands, Guizhou

and Aeolus filed separate comments challenging Commerce’s

redetermination – based on their own unique company-specific facts,

responding to Commerce’s company-specific analyses – in November 2019

and again in November 2021. Id., Appx225, App227-228. After the CIT

affirmed Commerce’s second redetermination, Guizhou and Aeolus in July

2023 filed separate Notices of Appeal, that were docketed as Fed. Cir. Case

Nos. 23-2163 and 23-2164, respectively. Id., Appx 229. This Court in July

2023 sua sponte consolidated both appeals under that of Guizhou, Fed. Cir.

Case No. 2023-2163. ECF 2.

      On October 27, 2023, Guizhou and Aeolus submitted separate

opening briefs. ECF 20-23. While the legal issues in these briefs are similar,

the arguments in each brief are based on facts and circumstances, including

BPI, unique to each company. Id. On November 3, 2023, this Court advised

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counsel that the opening briefs were not in compliance with this Court’s

rules because: “When multiple parties are represented by the same counsel

or counsel from the same firm, a combined brief must be filed on behalf of

all parties represented by that counsel or firm. Fed. Cir. R. 28(i)(2).” ECF

24.

      GOOD CAUSE EXISTS TO ALLOW SEPARATE BRIEFS

      Guizhou and Aeolus submit that good cause exists to permit them to

file separate briefs, as adherence to the combined brief requirement would

prejudice these companies in these appeals. For the reasons set forth below,

both entities should be able to fully and independently present their positions

on appeal. However, unless this Court waives its general rule, they will be

unable to do so because they happen to be represented by the same counsel

and this Court sua sponte consolidated their appeals.

      First, Guizhou and Aeolus have completely separate and voluminous

record evidence comprised of the information they submitted to Commerce.

In other words, their appeals are predicated on distinct and extensive

company-specific facts. Requiring that they brief their arguments together

creates the possibility of confusion between the two records.

      Second and relatedly, requiring a combined brief would necessitate

that both companies comply with the word count limit for a single brief.
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This word count presents an extraordinary limitation for Guizhou and

Aeolus, whose opening briefs consisted of 13,942 and 13,918 words,

respectively – each just under the 14,000 words permitted by this Court’s

rules. ECF 20-23. Even a sizeable word count enlargement, which may not

be granted, would jumble the two factual records and prejudice both

companies in their ability to independently present their own cohesive and

streamlined case on appeal. It is unfair to force these companies to present

their appeals together, thereby creating a possibility that this Court will be

less likely to consider the claims of each based on the facts specific to each

company.

      Third, Guizhou and Aeolus have completely separate BPI records

which constitute a sizable portion of the record, constituting hundreds of

pages. Moreover, the briefs filed by Guizhou and Aeolus contained 24 and

47 confidential words, respectively – which would collectively exceed the

50 confidential words permitted by this Court’s rules. ECF 20-23. Even a

confidential word count enlargement, which this Court disfavors, would

prohibit counsel from sharing the combined confidential brief with both

clients without disclosing the proprietary information of Guizhou with

Aeolus, and vice-versa. This potential for the disclosure of client-specific



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proprietary information presents another reason why Guizhou and Aeolus

should be permitted to file their own briefs.

      Guizhou and Aeolus submit that the prejudice that they will

experience as a result of having to file a combined brief, by mere virtue of

their being represented by the same counsel and this Court’s sua sponte

consolidation, will outweigh any inconvenience to the only other party to

this action. Defendant United States would have to write separate response

briefs, but would not experience any of the problems associated with

jumbling record facts, word counts, and BPI as set forth above.

      In sum, Guizhou and Aeolus will be prejudiced if they are required to

submit a combined brief that truncates their word count allocation and

jumbles their independently extensive records. Accordingly, good cause

supports this request to waive the combined brief required by Fed. Cir. R.

28(i)(2) and allow Guizhou and Aeolus to file separate briefs.

         ALTERNATIVELY, THIS COURT SHOULD SEVER

      Guizhou and Aeolus each filed their own appeal, and are only

required to file a single brief on account of this Court having sua sponte

consolidated the appeals. ECF 2. Without the consolidation, Guizhou and

Aeolus would be authorized to file their own briefs. Therefore, if this Court

declines to grant their request to waive the combined brief requirement,

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Guizhou and Aeolus respectfully request that this Court sever the cases so

that each can file its own brief. To ensure that the cases are assigned to the

same merits panel, this Court should in the event of severance designate the

Guizhou and Aeolus appeals as companion cases – as it has already done

with two other pending appeals, Fed. Cir. Court Nos. 2023-2165 and 2023-

2391. ECF 8, 15.

 THIS COURT SHOULD EXTEND THE TIME FOR COMPLIANCE

      Guizhou and Aeolus are currently required to file a compliant

combined brief by November 13, 2023 – 5 business days from the Notice of

Non-Compliance. ECF 24. Because Guizhou and Aeolus are herewith

requesting authorization to file separate briefs, we respectfully request that

this deadline be extended by 14-days or until November 27, 2023. This is the

first request of an extension of time for this purpose.

      Good cause supports this request. First, if Guizhou and Aeolus prevail

on this Motion, there would be no need to file a combined brief; the

extension will avoid having to create a combined brief that they do not

believe is either warranted or appropriate, as set forth above Next, if

Guizhou and Aeolus do not prevail on this Motion, it will take significant

resources to combine the two briefs.



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      Further, counsel for Guizhou and Aeolus are extraordinarily busy with

matters before this Court and the U.S. Court of International Trade (“CIT”)

as well as Commerce and the U.S. International Trade Commission (“ITC”)

whose proceedings must comply with strict statutory timeframes. These

conflicting deadlines include:

    Jinko Solar Import and Export Co. v. United States, Consol.
     CIT Case No. 22-00219: Reply Brief due November 13, 2023;

    Mattresses from Bosnia and Herzegovina, Bulgaria, Burma,
     India, Indonesia, Italy, Kosovo, Mexico, Philippines, Poland,
     Slovenia, Spain, and Taiwan, Inv. Nos. 701-TA-693 & 731-TA-
     1629-40: Comments on Draft Questionnaires due November
     13, 2023;

    Mattresses from India, Commerce Case No. A-533-919,
     Sections B-D Questionnaire Response due November 14, 2023;

    Guizhou Tyre Co. v. United States, Fed. Cir. Case No. 23-2165:
     Opening Brief due November 17, 2023 (extension to be filed);
     and

    Asia Wheel Co. v. United States, CIT Case No. 23-96: Motion
     for Judgment on the Agency Record and Opening Brief due
     November 20, 2023.

The requested extension will avoid scheduling conflicts that counsel for

Plaintiff-Appellants have as a result of extensive conflicting deadlines.

                 POSITION OF THE OTHER PARTIES

      Counsel for Plaintiffs-Appellants on November 6, 2023, contacted

John J. Todor, U.S. Department of Justice, counsel for Defendant United
                                     8
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States, the only other party to this appeal. Defendant opposes the Motion for

Guizhou and Aeolus to be able to file separate briefs, or in the alternative, to

sever the cases, but does not object to the 14-day extension of time.

                               CONCLUSION

      For the foregoing reasons, Guizhou and Aeolus respectfully request

that this Court waive the requirement that they file a combined brief, or

alternatively sever these consolidated cases and instead designate them as

companion cases, and extend the deadline for compliance by 14 days, until

November 27, 2023.

                                               Respectfully submitted,

                                               /s/ Jordan C. Kahn___
                                               Ned H. Marshak
                                               Jordan Charles Kahn

                                               1201 New York Ave., NW
                                               Suite 650
                                               Washington, DC 20005
                                               (202) 783-6881
                                               Counsel to Plaintiffs-Appellants
Dated: November 6, 2023




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FORM 9. Certificate of Interest                                                                   Form 9 (p. 1)
                                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 23-2163 (consolidated with 23-2164)
   Short Case Caption Guizhou Tyre Co., Ltd. v. US
   Filing Party/Entity Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd., Aeolus Tyre Co., Ltd.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


 Date: November 6, 2023                           Signature:        /s/ Jordan C. Kahn

                                                  Name:             Jordan C. Kahn
              Case: 23-2163           Document: 25     Page: 11       Filed: 11/06/2023



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in            3. Parent Corporations
         Entities.                            Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable           ‫܆‬
                                                                      ✔ None/Not Applicable




Guizhou Tyre Co., Ltd.

Guizhou Tyre Import and Export Co.,
Ltd.


Aeolus Tyre Co., Ltd.




                                  ‫܆‬      Additional pages attached
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FORM 9. Certificate of Interest                                                   Form 9 (p. 3)
                                                                                   March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable               ‫܆‬       Additional pages attached

Brandon M. Petelin                Elaine F. Wang              Andrew T. Schutz

Mark E. Pardo




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                          ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable               ‫܆‬       Additional pages attached
       Case: 23-2163    Document: 25    Page: 13    Filed: 11/06/2023




                  CERTIFICATE OF COMPLIANCE



This motion complies with the type-volume limitation of Federal Rules of
Appellate Procedure 28.1(e)(2) and 32(a)(7)(B).

This motion contains 1,588 words, excluding the parts of the brief exempted
by Federal Rule of Appellate Procedure 32(a)(7)(B)(iii).

This motion complies with the typeface requirements of Federal Rule of
Appellate Procedure 32(a)(5) and the typestyle requirements of Federal Rule
of Appellate Procedure 32(a)(6).

This motion has been prepared in a proportionally spaced type face using
Word 2010 in Times New Roman 14 point font.



                                            /s/ Jordan C. Kahn
                                            Jordan C. Kahn

                                            Counsel to Plaintiffs-Appellants
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             Attachment: relevant Joint Appendix pages




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                                                                                                    A-570-912
                                                                                         AR: 09/01/14 - 8/31/15
                                                                                             Public Document
                                                                                         E&C/III: MKM, KAH
April 12, 2017

MEMORANDUM TO:                      Ronald K. Lorentzen
                                    Acting Assistant Secretary
                                     for Enforcement and Compliance

FROM:                               Gary Taverman
                                    Associate Deputy Assistant Secretary
                                     for Antidumping and Countervailing Duty Operations

SUBJECT:                            Issues and Decision Memorandum for Final Results of
                                    Antidumping Duty Administrative Review: Certain New
                                    Pneumatic Off-the-Road Tires from the People’s Republic of
                                    China; 2014-2015


         I.       SUMMARY

The Department of Commerce (“Department”) analyzed the case and rebuttal briefs of interested
parties in the seventh administrative review of the antidumping duty (“AD”) order on certain
new pneumatic off-the-road tires (“OTR Tires”) from the People’s Republic of China (“PRC”)
for the period of review (“POR”) September 1, 2014, through August 30, 2015. The review
covers the following exporters of subject merchandise:

    1.   Aeolus Tyre Co., Ltd. (“Aeolus”)
    2.   Shiyan Desizheng Industry & Trade Co., Ltd. (“Desizheng”)
    3.   Qingdao Jinhaoyang International Co., Ltd. (“Jinhaoyang”)
    4.   Weifang Jintongda Tyre Co., Ltd. (“Jintongda”)
    5.   Sailun Jinyu Group Co., Ltd. (“Sailun”)
    6.   Guizhou Tyre Co., Ltd. (“GTC”)1
    7.   Qingdao Free Trade Zone Full-World International Trading Co., Ltd. (“Qingdao FTZ”)

1
  In the initial investigation, the Department found GTC and Guizhou Tyre Import and Export Corporation
(“GTCIE”) to be affiliated pursuant to section 771(33)(B), (E), (F) and (G) of the Tariff Act of 1930, as amended,
and found that it was appropriate to treat these companies as a single entity pursuant to 19 CFR 351.401(f). See
Certain New Pneumatic Off-The-Road Tires From the People’s Republic of China; Preliminary Determination of
Sales at Less Than Fair Value and Postponement of Final Determination, 73 FR 9278, 9283 (February 20, 2008),
unchanged in Certain New Pneumatic Off-The-Road Tires from the People’s Republic of China: Final Affirmative
Determination of Sales at Less Than Fair Value and Partial Affirmative Determination of Critical Circumstances,
73 FR 40485 (July 15, 2008) (“OTR Tires LTFV Determination”). This decision is unchallenged in the instant
review, and there is no evidence on the record of this review that calls this determination into question. Thus, the
Department continues to treat GTC and GTCIE as a single entity (collectively, “GTC”) pursuant to 19 CFR
351.401(f).




         Filed By: Amanda Mallott, Filed Date: 4/13/17 12:37 PM, Submission Status: Approved




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    8. Qingdao Qihang Tyre Co. (“Qihang”)
    9. Tianjin Leviathan International Trade Co., Ltd. (“Leviathan”)
    10. Trelleborg Wheel Systems (Xingtai) China, Co. Ltd. (“TWS Xingtai”)
    11. Trelleborg Wheel Systems Hebei Co. (“TWS Hebei”)
    12. Weihai Zhongwei Rubber Co., Ltd. (“Zhongwei”)
    13. Xuzhou Xugong Tyres Co. Ltd. (“Xugong”)2
    14. Zhongce Rubber Group Company Limited (“Zhongce”).

         II.      BACKGROUND

On October 14, 2016, the Department published the Preliminary Results of this administrative
review.3 The Department invited interested parties to comment on the Preliminary Results.4

On December 14, 2016, the Department received timely filed case briefs from GTC,5 Xugong,6
Qingdao FTZ,7 and Aeolus,8 as well as Titan Tire Corporation and the United Steel, Paper and
Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service Workers International
Union, AFL-CIO, CLC (collectively, “Petitioners”).9 On December 21, 2016, the Department



2
  The Department previously found Xugong to be affiliated with Xuzhou Armour Rubber Company Ltd. (“Armour”)
and Xuzhou Hanbang Tyre Co., Ltd. (“Hanbang”) pursuant to section 771(33)(E) of the Tariff Act of 1930, as
amended, and found that it was appropriate to treat these companies as a single entity pursuant to 19 CFR
351.401(f). See Certain New Pneumatic Off-The-Road Tires From The People’s Republic Of China: Preliminary
Results Of Antidumping Duty Administrative Review; 2013-2014, 80 FR 61166, 61167 (October 9, 2015),
unchanged in Certain New Pneumatic Off-the-Road Tires From the People’s Republic of China: Final Results of
Antidumping Duty Administrative Review; 2013-2014, 81 FR 23272 (April 20, 2016) (“OTR Tires 13-14”). This
decision is unchallenged in the instant review and there is no evidence on the record of this review that calls this
determination into question. Thus, the Department continues to treat Xugong, Armour, and Hanbang as a single
entity (collectively, “Xugong”) pursuant to 19 CFR 351.401(f).
3
  See Certain New Pneumatic Off-the-Road Tires From the People’s Republic of China: Preliminary Results of
Antidumping Duty Administrative Review; 2014-2015, 81 FR 71068 (October 14, 2016) (“Preliminary Results”) and
accompanying “Decision Memorandum for Preliminary Results of Antidumping Duty Administrative Review:
Certain New Pneumatic Off-the-Road Tires from the People’s Republic of China; 2014-2015,” dated October 5,
2016 (“PDM”).
4
  See Preliminary Results, 81 FR at 71068.
5
  See letter from GTC, “GTC and GTCIE Direct Case Brief in the Administrative Review of the Antidumping Duty
Order on New Pneumatic Off-The-Road Tires from the People’s Republic of China,” dated December 14, 2016
(“GTC’s Case Brief”).
6
  See letter from Xugong, “Xuzhou Xugong Tyres Co., Ltd., (“Xugong”) Case Brief: Administrative Review of
New Pneumatic Off-The-Road Tires from the People’s Republic of China,” dated December 14, 2016 (“Xugong’s
Case Brief”).
7
  See letter from Qingdao FTZ, “Qingdao FTZ Direct Case Brief in the Seventh Administrative Review of the
Antidumping Order on Certain New Pneumatic Off the-Road Tires from the People’s Republic of China,” dated
December 14, 2016 (“Qingdao FTZ’s Case Brief”).
8
  See letter from Aeolus, “Aeolus Direct Case Brief in the Seventh Administrative Review of the Antidumping
Order on Certain New Pneumatic Off the-Road Tires from the People’s Republic of China,” dated December 14,
2016 (“Aeolus’ Case Brief”).
9
  See letter from Petitioners, “Case Brief of Titan Tire Corporation and the United Steel, Paper and Forestry, Rubber,
Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-CIO, CLC,” dated
December 14, 2016 (“Petitioners’ Case Brief”).




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received timely filed rebuttal briefs from Petitioners,10 GTC,11 Zhongce,12 Jinhaoyang,13 and
Xugong.14

On December 22, 2016, in accordance with section 751(a)(3)(A) of the Tariff Act of 1930, as
amended (“the Act”), the Department extended the period for issuing the final results of this
review by sixty-days, to April 12, 2017.15 Additionally, in accordance with timely requests from
parties, the Department held a public hearing on February 15, 2017.16

         III.     SCOPE OF THE ORDER

The products covered by the order are new pneumatic tires designed for off-the-road and off-
highway use, subject to exceptions identified below. Certain OTR tires are generally designed,
manufactured and offered for sale for use on off-road or off-highway surfaces, including but not
limited to, agricultural fields, forests, construction sites, factory and warehouse interiors, airport
tarmacs, ports and harbors, mines, quarries, gravel yards, and steel mills. The vehicles and
equipment for which certain OTR tires are designed for use include, but are not limited to: (1)
agricultural and forestry vehicles and equipment, including agricultural tractors,17 combine
harvesters,18 agricultural high clearance sprayers,19 industrial tractors,20 log-skidders,21
agricultural implements, highway-towed implements, agricultural logging, and agricultural,
industrial, skid-steers/mini-loaders;22 (2) construction vehicles and equipment, including


10
   See letter from Petitioners, “Rebuttal Brief of Titan Tire Corporation and the United Steel, Paper and Forestry,
Rubber, Manufacturing, energy, Allied Industrial and Service Workers International Union, AFL-CIO, CLC,” dated
December 21, 2016 (“Petitioners’ Rebuttal Brief”).
11
   See letter from GTC, “GTC and GTCIE Rebuttal Brief in the Administrative Review of the Antidumping Duty
Order on New Pneumatic Off-The-Road Tires from the People’s Republic of China,” dated December 21, 2016
(“GTC’s Rebuttal Brief”).
12
   See letter from Zhongce, “Certain New Pneumatic Off-the-Road Tires from the People’s Republic of China:
Zhongce’s Rebuttal Brief,” dated December 21, 2016 (“Zhongce’s Rebuttal Brief”).
13
   See letter from Jinhaoyang, “Jinhaoyang’s Reply Brief Certain New Pneumatic Off-the-Road Tires from the
People’s Republic of China,” dated December 21, 2016 (“Jinhaoyang’s Rebuttal Brief”).
14
   See letter from Xugong, “Xuzhou Xugong Tyres Co., Ltd., (“Xugong”) Rebuttal Brief: Administrative Review of
New Pneumatic Off-The-Road Tires from the People’s Republic of China,” dated December 21, 2016 (“Xugong’s
Rebuttal Brief”).
15
   See memorandum to Christian Marsh, “Certain New Pneumatic Off-the-Road Tires from the People’s Republic of
China: Extension of Deadline for Final Results of Antidumping Duty Administrative Review; 2014-2015,” dated
December 22, 2016.
16
   See the Hearing Transcript, filed onto the record by Kevin Connolly Court Reporting.
17
   Agricultural tractors are dual-axle vehicles that typically are designed to pull farming equipment in the field and
that may have front tires of a different size than the rear tires.
18
   Combine harvesters are used to harvest crops such as corn or wheat.
19
   Agricultural sprayers are used to irrigate agricultural fields
20
   Industrial tractors are dual-axle vehicles that typically are designed to pull industrial equipment and that may have
front tires of a different size than the rear tires.
21
   A log-skidder has a grappling lift arm that is used to grasp, lift and move trees that have been cut down to a truck
or trailer for transport to a mill or other destination.
22
   Skid-steer loaders are four-wheel drive vehicles with the left-side drive wheels independent of the right-side drive
wheels and lift arms that lie alongside the driver with the major pivot points behind the driver’s shoulders. Skid-
steer loaders are used in agricultural, construction and industrial settings.




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earthmover articulated dump products, rigid frame haul trucks,23 front end loaders,24 dozers,25 lift
trucks, straddle carriers,26 graders,27 mobile cranes,28 compactors; and (3) industrial vehicles and
equipment, including smooth floor, industrial, mining, counterbalanced lift trucks, industrial and
mining vehicles other than smooth floor, skid-steers/mini-loaders, and smooth floor off-the-road
counterbalanced lift trucks. The foregoing list of vehicles and equipment generally have in
common that they are used for hauling, towing, lifting, and/or loading a wide variety of
equipment and materials in agricultural, construction and industrial settings. Such vehicles and
equipment, and the descriptions contained in the footnotes are illustrative of the types of vehicles
and equipment that use certain OTR tires, but are not necessarily all-inclusive. While the
physical characteristics of certain OTR tires will vary depending on the specific applications and
conditions for which the tires are designed (e.g., tread pattern and depth), all of the tires within
the scope have in common that they are designed for off-road and off-highway use. Except as
discussed below, OTR tires included in the scope of the order range in size (rim diameter)
generally but not exclusively from 8 inches to 54 inches. The tires may be either tube-type29 or
tubeless, radial or non-radial, and intended for sale either to original equipment manufacturers or
the replacement market. The subject merchandise is currently classifiable under Harmonized
Tariff Schedule of the United States (“HTSUS”) subheadings: 4011.20.10.25, 4011.20.10.35,
4011.20.50.30, 4011.20.50.50, 4011.61.00.00, 4011.62.00.00, 4011.63.00.00, 4011.69.00.00,
4011.92.00.00, 4011.93.40.00, 4011.93.80.00, 4011.94.40.00, and 4011.94.80.00. While
HTSUS subheadings are provided for convenience and customs purposes, our written description
of the scope is dispositive.

Specifically excluded from the scope are new pneumatic tires designed, manufactured and
offered for sale primarily for on-highway or on-road use, including passenger cars, race cars,
station wagons, sport utility vehicles, minivans, mobile homes, motorcycles, bicycles, on-road or
on-highway trailers, light trucks, and trucks and buses. Such tires generally have in common that
the symbol “DOT” must appear on the sidewall, certifying that the tire conforms to applicable
motor vehicle safety standards. Such excluded tires may also have the following designations
that are used by the Tire and Rim Association:

         Prefix letter designations:
            • P - Identifies a tire intended primarily for service on passenger cars;

23
   Haul trucks, which may be either rigid frame or articulated (i.e., able to bend in the middle) are typically used in
mines, quarries and construction sites to haul soil, aggregate, mined ore, or debris.
24
   Front loaders have lift arms in front of the vehicle. They can scrape material from one location to another, carry
material in their buckets, or load material into a truck or trailer.
25
   A dozer is a large four-wheeled vehicle with a dozer blade that is used to push large quantities of soil, sand,
rubble, etc., typically around construction sites. They can also be used to perform “rough grading” in road
construction.
26
   A straddle carrier is a rigid frame, engine-powered machine that is used to load and offload containers from
container vessels and load them onto (or off of) tractor trailers.
27
   A grader is a vehicle with a large blade used to create a flat surface. Graders are typically used to perform “finish
grading.” Graders are commonly used in maintenance of unpaved roads and road construction to prepare the base
course on to which asphalt or other paving material will be laid.
28
   I.e., “on-site” mobile cranes designed for off-highway use.
29
   While tube-type tires are subject to the scope of this proceeding, tubes and flaps are not subject merchandise and
therefore are not covered by the scope of this proceeding, regardless of the manner in which they are sold (e.g., sold
with or separately from subject merchandise).


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                •    LT - Identifies a tire intended primarily for service on light trucks; and,
                •    ST - Identifies a special tire for trailers in highway service.

           Suffix letter designations:
              • TR - Identifies a tire for service on trucks, buses, and other vehicles with rims
                   having specified rim diameter of nominal plus 0.156” or plus 0.250”;
              • MH - Identifies tires for Mobile Homes;
              • HC - Identifies a heavy duty tire designated for use on “HC” 15” tapered rims
                   used on trucks, buses, and other vehicles. This suffix is intended to differentiate
                   among tires for light trucks, and other vehicles or other services, which use a
                   similar designation.
              • Example: 8R17.5 LT, 8R17.5 HC;
              • LT - Identifies light truck tires for service on trucks, buses, trailers, and
                   multipurpose passenger vehicles used in nominal highway service; and
              • MC - Identifies tires and rims for motorcycles.

The following types of tires are also excluded from the scope: pneumatic tires that are not new,
including recycled or retreaded tires and used tires; non-pneumatic tires, including solid rubber
tires; tires of a kind designed for use on aircraft, all-terrain vehicles, and vehicles for turf, lawn
and garden, golf and trailer applications. Also excluded from the scope are radial and bias tires
of a kind designed for use in mining and construction vehicles and equipment that have a rim
diameter equal to or exceeding 39 inches. Such tires may be distinguished from other tires of
similar size by the number of plies that the construction and mining tires contain (minimum of
16) and the weight of such tires (minimum 1500 pounds).

          IV.       CHANGES SINCE THE PRELIMINARY RESULTS

Based on our review and analysis of the comments received from parties, we made certain
changes to our margin calculations for Xugong.30 Specifically, we:

     1.    revised the surrogate value for tire valves,31
     2.    corrected a ministerial error regarding the valuation of Smoked Sheet Natural Rubber,32
     3.    calculated a U.S. sales adjustment for Xugong’s warehousing expense,33
     4.    revised Xugong’s indirect selling expense ratio and application thereof,34



30
   See memorandum to the File, “2014-2015 Administrative Review of the Antidumping Duty Order on Certain New
Pneumatic Off-the-Road Tires from the People’s Republic of China: Analysis of the Final Results Margin
Calculation for Xuzhou Xugong Tyres Co., Ltd.,” dated concurrently with this memorandum (“Xugong’s Final
Analysis Memo”).
31
   See below at Comment 6; see also Memorandum to the File, “Final Results of the 2014-2015 Administrative
Review of the Antidumping Duty Order on Certain New Pneumatic off-The-Road Tires from the People’s Republic
of China: Surrogate Value Memorandum,” dated concurrently with this memorandum (“Final SV Memo”).
32
   See below at Comment 3; see also Xugong’s Final Analysis Memo.
33
   See below at Comment 7; see also Xugong’s Final Analysis Memo.
34
   Id.




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       5. recalculated Xugong’s sales adjustment for value added tax (“VAT”) for its constructed
          export price (“CEP”) sales,35 and
       6. corrected a ministerial error regarding the deduction of tubes and flaps from applicable
          sales.36

         V.      LIST OF COMMENTS

Comment 1:         Separate Rates
                   A. Whether to Grant Aeolus a Separate Rate
                   B. Whether to Grant GTC a Separate Rate
                   C. Whether to Grant Jinhaoyang a Separate
                   D. Whether to Grant Zhongce a Separate Rate
Comment 2:         Calculation of the Cost of Tube and Flap Inputs for Xugong
Comment 3:         Surrogate Value for Smoked Sheet Natural Rubber
Comment 4:         Surrogate Value for Inland Truck Freight
Comment 5:         Surrogate Value for Carbon Black
Comment 6:         Surrogate Value for Tire Valves
Comment 7:         Warehousing Expense Calculation for Xugong
Comment 8:         Whether to Adjust Xugong’s U.S. Prices for Irrecoverable Value Added Tax
Comment 9:         Additional Comments Raised by GTC

         VI.     DISCUSSION OF THE ISSUES

Comment 1: Separate Rates

In the Preliminary Results, we determined that Aeolus, and GTC were not eligible for a separate
rate because they failed to demonstrate an absence of de facto government control over their
export activities, and that Tianjin Leviathan International Trade Co., Ltd. (“Leviathan”) was not
eligible for a separate rate because it did not submit a response or certification in response to the
Department’s separate rate questionnaire. In addition, we also determined that Shiyan Desizheng
Industry & Trade Co., Ltd. (“Desizheng”), Sailun Jinyu Group Co., Ltd. (“Sailun”), Weifang
Jintongda Tyre Co., Ltd. (“Jintongda”), Trelleborg Wheel Systems (Xingtai) China, Co. Ltd.
(“TWS Xingtai”), Weihai Zhongwei Rubber Co., Ltd. (“Zhongwei”), Qingdao Qihang Tyre Co.
(“Qihang”), Qingdao Free Trade Zone Full-World International Trading Co., Ltd. (“Quingdao
FTZ”), Jinhaoyang and Zhongce were eligible for a separate rate. Interested parties only
commented on the separate rate eligibility of Aeolus, GTC, Jinhaoyang, and Zhongce.
Accordingly, for the final results we continue to find that Leviathan is not eligible for a separate
rate and that Desizheng, Sailun, Jintongda, TWS Xingtai, Zhongwei, Qihang, and Quingdao FTZ
are eligible for a separate rate. Further, as discussed below, for the final results, and based on
record evidence, we continue to find that Aeolus and GTC are not eligible for a separate rate, and
that Jinhaoyang and Zhongce are eligible for a separate rate.

As we stated in the Preliminary Results, in proceedings involving non-market economy
(“NME”) countries, the Department begins with a rebuttable presumption that all companies

35
     See below at Comment 8; see also Xugong’s Final Analysis Memo.
36
     See below at Comment 2; see also id.


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within the NME country are subject to government control and, thus, should be assessed a single
antidumping duty rate. It is the Department’s policy to assign all exporters of the merchandise
subject to review in NME countries a single rate unless an exporter can affirmatively
demonstrate an absence of government control, de jure and de facto, with respect to exports. To
establish whether a company is sufficiently independent to be entitled to a separate, company-
specific rate, the Department analyzes each exporting entity in an NME country under the test
established in Sparklers,37 as further developed in Silicon Carbide.38 In accordance with this
separate rate test, the Department assigns separate rates to respondents in NME proceedings if
respondents demonstrate the absence of both de jure and de facto government control over their
export activities.39

The Department considers the following de jure criteria in determining whether an individual
company may be granted a separate rate: (1) an absence of restrictive stipulations associated with
an individual exporter’s business and export licenses; (2) any legislative enactments
decentralizing control of companies; and (3) other formal measures by the government
decentralizing control of companies.40

Typically, the Department considers four factors in evaluating whether each respondent is
subject to de facto government control of its export functions: (1) whether the export prices are
set by or are subject to the approval of a government authority; (2) whether the respondent has
authority to negotiate and sign contracts and other agreements; (3) whether the respondent has
autonomy from the government in making decisions regarding the selection of management; and
(4) whether the respondent retains the proceeds of its export sales and makes independent
decisions regarding disposition of profits or financing of losses.41

The Department continues to evaluate its practice with regard to the separate rates analysis in
light of the Diamond Sawblades 11-12 AD proceeding, and the Department’s determinations
therein.42 In particular, we note that in litigation involving the Diamond Sawblades 11-12

37
   See Final Determination of Sales at Less Than Fair Value: Sparklers from the People’s Republic of China, 56 FR
20588, 20589 (May 6, 1991) (“Sparklers”).
38
   See Final Determination of Sales at Less than Fair Value: Silicon Carbide from the People’s Republic of China,
59 FR 22585 (May 2, 1994) (“Silicon Carbide”).
39
   See, e.g., Final Results of Antidumping Duty Administrative Review: Petroleum Wax Candles From the People’s
Republic of China, 72 FR 52355, 52356 (September 13, 2007); Brake Rotors From the People’s Republic of China;
Preliminary Results and Partial Rescission of the Fourth New Shipper Review and Rescission of the Third
Antidumping Duty Administrative Review, 66 FR 1303, 1306 (January 8, 2001), unchanged in Brake Rotors From
the People’s Republic of China: Final Results and Partial Rescission of Fourth New Shipper Review and Rescission
of Third Antidumping Duty Administrative Review, 66 FR 27063 (May 16, 2001); and Notice of Final Determination
of Sales at Less Than Fair Value: Creatine Monohydrate From the People’s Republic of China, 64 FR 71104
(December 20, 1999) (“Creatine”).
40
   See Sparklers, 56 FR at 20589.
41
   See Silicon Carbide, 59 FR at 22586-87; see also Notice of Final Determination of Sales at Less Than Fair Value:
Furfuryl Alcohol From the People’s Republic of China, 60 FR 22544, 22545 (May 8, 1995) (“Furfuryl Alcohol”).
42
   See Diamond Sawblades and Parts Thereof from the People’s Republic of China: Preliminary Results of
Antidumping Duty Administrative Review; 2011-2012, 78 FR 77098 (December 20, 2013), and accompanying
Preliminary Decision Memo at 7, unchanged in Diamond Sawblades and Parts Thereof from the People’s Republic
of China: Final Results of Antidumping Duty Administrative Review; 2011-2012, 79 FR 35723 (June 24, 2014), and
accompanying Issues and Decision Memorandum (“IDM”) at Comment l (“Diamond Sawblades 11-12”).




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proceeding, the CIT found the Department’s existing separate rates analysis deficient in the
specific circumstances of that case, which involved a government-controlled entity that
maintained significant ownership in the respondent exporter.43 Following the Court’s reasoning,
as affirmed by the Court of Appeals for the Federal Circuit (“CAFC”), in recent proceedings, we
concluded that where a government entity holds a majority ownership share, either directly or
indirectly,44 in the respondent exporter, the majority ownership holding in and of itself means
that the government exercises, or has the potential to exercise, control over the company’s
operations generally.45 This may include control over, for example, the selection of
management, a key factor in determining whether a company has sufficient independence in its
export activities to merit a separate rate. Consistent with normal business practices, we would
expect any majority shareholder, including a government, to have the ability to control, and an
interest in controlling, the operations of the company, including the selection of management and
the profitability of the company.

We found in the Preliminary Results that Aeolus and GTC, established their de jure
independence from the PRC government. However, in the Preliminary Results, Aeolus and GTC
failed to demonstrate the absence of de facto control by the PRC government. Additionally, in
the Preliminary Results, the Department determined that Jinhaoyang and Zhongce established
their independence from de jure and de facto government control over their export activities, and
thus, are eligible for separate rates.

As noted above, the CAFC has held that the Department has the authority to place the burden on
the exporter to establish an absence of government control.46 For the reasons explained below,

43
   See Advanced Technology & Materials Co., Ltd., et al. v. United States, 885 F. Supp. 2d 1343 (CIT 2012)
(“Advanced Tech I”), affirmed in Advanced Technology & Materials Co., Ltd., et al. v. United States, 938 F. Supp.
2d 1342 (CIT 2013), aff’d Advanced Technology & Materials Co., Ltd. v. United States, Case No. 2014-1154
(CAFC 2014) (“Advanced Tech II”) (collectively, “Advanced Tech”) (“The court remains concerned that Commerce
has failed to consider important aspects of the problem and offered explanations that run counter to the evidence
before it… Further substantial evidence of record does not support the inference that SASAC’s {State-owned Assets
Supervision and Administration Commission} ‘management’ of its ‘state-owned assets’ is restricted to the kind of
passive-investor de jure ‘separation’ that Commerce concludes.…The point here is that ‘governmental control’ in
the context of the separate rate test appears to be a fuzzy concept, at least to this court, since a ‘degree’ of it can
obviously be traced from the controlling shareholder, to the board, to the general manager, and so on along the chain
to ‘day-to-day decisions of export operations,’ including terms, financing, and inputs into finished product for
export…AT&M itself identifies its ‘controlling shareholder’ as CISRI {owned by SASAC} in its financial
statements and the power to veto nomination does not equilibrate the power of control over nomination.”) (footnotes
omitted)). Id., at 1351-1357.
44
   See, e.g., Tapered Roller Bearings and Parts Thereof, Finished and Unfinished, from the People's Republic of
China, 81 FR 4251 (January 4, 2016) and accompanying IDM at Comment 7 (“in recent proceedings, we concluded
that where a government entity holds a majority ownership share, either directly or indirectly, in the respondent
exporter, the majority ownership holding in and of itself means that the government exercises, or has the potential to
exercise, control over the company's operations generally.” (footnotes omitted)).
45
   See Carbon and Certain Alloy Steel Wire Rod From the People’s Republic of China: Preliminary Determination
of Sales at Less Than Fair Value and Preliminary Affirmative Determination of Critical Circumstances, in Part, 79
FR 53169 (September 8, 2014), and accompanying PDM at 5-9 (“Steel Wire Rod Prelim”), unchanged in Carbon
and Certain Alloy Steel Wire Rod From the People’s Republic of China: Final Determination of Sales at Less Than
Fair Value and Final Affirmative Determination of Critical Circumstances, in Part, 79 FR 68860 (November 19,
2014) (“Steel Wire Rod Final”).
46
   See Sigma Corp. v. United States, 117 F.3d 1401, 1405-06 (CAFC 1997) (“Sigma”).




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the Department continues to find, based on the totality of the record evidence, that Aeolus and
GTC have not demonstrated an absence of de facto government control, and are therefore not
entitled to a separate rate. In contrast, the Department continues to find that Jinhaoyang and
Zhongce rebutted the presumption of de jure and de facto government control over their export
activities and are eligible for a separate rate.

     A. Whether to Grant Aeolus a Separate Rate

Aeolus’ Comments
• Aeolus argues that because the Department has made no indication that it has changed its
   separate rate test from its longstanding practice47 established in Sparklers and Silicon
   Carbide,48 and because the Department’s preliminary decision to deny Aeolus a separate rate
   is not supported by record evidence, for the final results, the Department should grant Aeolus
   a separate rate.
• The Department should reconsider the totality of the circumstances with respect to Aeolus in
   this case because its record evidence is easily distinguishable from those presented in
   Advanced Tech I,49 as well as other recent decisions in light of this ruling.50
• The company website the Department referenced in its preliminary decision is primarily for
   advertisement purposes;51 it is not an official business document objectively demonstrating
   “control” in the manner considered by the Department under its separate rate test.
• Aeolus argues that we did not analyze all four factors of the de facto test or consider the
   totality of the circumstances.
• Furthermore, Aeolus argues that the facts in this review are distinguishable from Advanced
   Tech II52 as Aeolus’ parent company’s board is elected by its shareholders.

Petitioners’ Rebuttal
• The Department properly determined that Aeolus is ineligible for a separate rate.
• Petitioners argue that there are additional shareholders that are also ultimately state owned, in
    addition to those recognized by Aeolus.53 Petitioners argue that Aeolus shareholders that can

47
   See Aeolus’ Case Brief, at 2 (citing to Furfuryl Alcohol, 60 FR at 22545).
48
   Id. (citing to Sparklers, 56 FR at 20588 and Silicon Carbide, 59 FR at 22585).
49
   Id., at 6 (citing Final Results of Redetermination Pursuant to Remand Order for Diamond Sawblades and Parts
Thereof from the People’s Republic of China (May 6, 2013); Advanced Tech I).
50
   Id. (citing to 1,1,1,2-Tetrafluroethane From the People's Republic of China: Final Determination of Sales at Less
Than Fair Value, 79 FR 62597 (October 20, 2014), and accompanying IDM at Comment 1, and Small Diameter
Graphite Electrodes from the People's Republic of China: Final Results of Antidumping Duty Administrative
Review; 2014-2015, 81 FR 62474 (September 9, 2016)).
51
   Id., at 7 (citing to letter from Petitioners’, “Administrative Review of the Antidumping Duty Order on New
Pneumatic Off- The-Road Tires from China (A–570–912): Petitioners’ Rebuttal Information and Deficiency
Comments on Aeolus’ Separate Rate Application,” dated December 30, 2015, at Attachment 3 (“Petitioners’ Aeolus
SRA Rebuttal”) which stated that stated that China National Tire & Rubber Co., Ltd. (“CNRC”), not China National
Chemical Corporation., controls Aeolus).
52
   Id., at 4, 14, 16 (citing to Advanced Tech II, aff’d 2013 U.S. App. LEXIS 22869 (CAFC 2013) (“Advanced Tech
III”)).
53
   See Petitioners’ Rebuttal Brief, at 37 (citing to letter from Aeolus, “Separate Rate Application in the Seventh
Administrative Review of the Antidumping Duty Order on Certain New Pneumatic Off the-Road Tires from the
People’s Republic of China,” dated December 11, 2016 (“Aeolus’ SRA”), at Exhibit 7).




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     be clearly identified as state-owned, own a higher ownership stake in Aeolus than Aeolus
     reported in its SRA,54 meaning that Aeolus is a majority state-owned company, making
     Aeolus ineligible for a separate rate in this review.55
•    Furthermore, the Department should continue to follow its recent decision in Truck and Bus
     Tires Preliminary56 to deny Aeolus a separate rate.

Department Position: For the final results and based on record evidence, we continue to find
that Aeolus is not eligible for a separate rate. In the Preliminary Results, we determined, based
on substantial record evidence, that a state-owned enterprise (“SOE”), China National Chemical
Corporation, (“China Chem”), is Aeolus’s largest and controlling shareholder.57 As noted above,
we would expect any major shareholder, including a government, to have the ability to control,
and an interest in controlling, the operations of the company, including the selection of
management and the profitability of the company.58 In the Preliminary Results, we identified
additional record evidence that we found (and continue to find) supports that expectation in this
review.59

Specifically, the record shows that Aeolus is 42.58 percent owned by its parent company (China
Chemical Rubber Co., Ltd. (also known as, China National Tire & Rubber Corp.) (“China Chem
Rubber”)), a company which is 100-percent owned by an SOE (China Chem) and supervised by
“State-owned Assets Supervision and Administration Commission(s)” (“SASAC(s)”), as
reflected in Aeolus’ separate rate application.60 Additionally, during the POR, of the top 10
shareholders, which includes China Chem Rubber, three additional shareholders (Henan Tyre
Group Co., Ltd., Jiaozuo Tongliang Assets Management Co., Ltd., and Xiamen Haiyi
International Trade Co., Ltd.) owned an additional 6.48 percent of Aeolus. These three
companies are also SOEs that are supervised by local SASACs. 61 Thus, the total SOE
ownership is 49.06 percent.

Further, Aeolus’ Articles of Association (“AoA”) describe various responsibilities based on
voting rights overseen by shareholders. The shareholders have the ability to nominate board

54
   Id.
55
   Id.
56
   Id., at 36 (citing Truck and Bus Tires from the People’s Republic of China, 81 FR 61186 (September 6, 2016)
(“Truck and Bus Preliminary”), and accompanying PDM at 16).
57
   See Preliminary Results, and accompanying PDM at 16. See also the Department’s memorandum to the file,
“Certain New Pneumatic Off-the-Road Tires from the People’s Republic of China: Preliminary Denial of Separate
Rate,” dated October 5, 2016, at page 2 (“Preliminary Separate Rate Memo”).
58
   See, e.g., Carbon and Certain Alloy Steel Wire Rod From the People’s Republic of China: Preliminary
Determination of Sales at Less Than Fair Value and Preliminary Affirmative Determination of Critical
Circumstances, in Part, 79 FR 53169 (September 8, 2014), and accompanying PDM at 5-9 (“Steel Wire Rod
Prelim”), unchanged in Carbon and Certain Alloy Steel Wire Rod From the People’s Republic of China: Final
Determination of Sales at Less Than Fair Value and Final Affirmative Determination of Critical Circumstances, in
Part, 79 FR 68860 (November 19, 2014) (“Steel Wire Rod Final”).
59
   See Preliminary Results, and accompanying PDM at 16. See also Preliminary Separate Rate Memo.
60
   See Aeolus’ SRA, at 13 and letter from Aeolus, “Separate Rate Application Supplemental Questionnaire Response
in the: Seventh Administrative Review of the Antidumping Duty Order on Certain New Pneumatic Off the-Road
Tires from the People's Republic of China,” dated August 2, 2016 (“Aeolus’ Supplemental Response”).
61
   See Aeolus’ SRA, at 13.




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members and vote on those nominees’ appointment to the board.62 These nominees select the
chairman of the board and senior management.63 Because Aeolus’ controlling shareholders are
wholly-owned SOEs,64 they have the ability to nominate a majority of Aeolus’ board members,
and in turn control decisions regarding the selection of management. Specifically, Articles 32
and 99 of Aeolus’ AoA give shareholders authority over decisions on the operations of the
company.65 In addition, Article 40 gives shareholders the authority to elect and replace board
members, and according to Article 97, the board members can also act as the general manager or
other senior managers.66 Finally, Article 147 of Aeolus’ AoA provides board members the
authority to appoint or remove the general manager and deputy general manager.67 Therefore,
we conclude that Aeolus does not satisfy the criteria demonstrating an absence of de facto
government control over its export activities. Consequently, we determine Aeolus is ineligible
for a separate rate.

Additionally, the website printouts provided by Petitioners show that Aeolus is under the direct
control of an SOE, specifically, China Chem Rubber.68 Despite Aeolus’ arguments that the
websites are not official company documents that objectively demonstrate “control,” we continue
to find the documents to be probative as to Aeolus’ ownership structure. We find that Aeolus did
not explain how specific information in Aeolus’ SRA and Aeolus’ Supplemental Response
directly rebuts the websites in question,69 which state that Aeolus is under the control of SOE
owners.70 Therefore, the information presented by Petitioners corroborates the ownership
information provided by Aeolus.71

The Department has a long-standing practice of presuming state control in an NME country and
places the burden on exporters requesting a separate rate to demonstrate an absence of de jure
and de facto control.72 The websites at issue support the presumption of PRC government
control over Aeolus and challenge the credibility of Aeolus’ request for a separate rate.
Therefore, we continue to find that these websites are credible documents supporting our finding
that Aeolus is subject to government control through the ownership interests of China Chem


62
   Id., at Exhibit 11.
63
   Id.
64
   Id.
65
   Id.
66
   Id.
67
   See Preliminary Separate Rate Memo, at 2.
68
   See letter from Petitioners, “Administrative Review of the Antidumping Duty Order on New Pneumatic Off-The-
Road Tires from China (A–570–912): Petitioners’ Rebuttal Information and Deficiency Comments on Aeolus’
Separate Rate Application,” dated December 30, 2016, at Attachment 3.
69
   See Aeolus’ Supplemental Response.
70
   See Preliminary Separate Rate Memo, at 2.
71
   See Aeolus’ SRA, at 13 and Exhibit 11.
72
   See Sigma Corp, 117 F.3d at 1405-06 (“We agree with the government that it was within Commerce’s authority to
employ a presumption of state control for exporters in a nonmarket economy, and to place the burden on the
exporters to demonstrate an absence of central government control. The antidumping statute recognizes a close
correlation between a nonmarket economy and government control of prices, output decisions, and the allocation of
resources. Moreover, because exporters have the best access to information pertinent to the ‘state control’ issue,
Commerce is justified in placing on them the burden of showing a lack of state control.”) (internal citations
omitted).




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                                                     Appx57
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Rubber, Henan Tyre Group, Jiaozuo Tongliang Assets Management, and Xiamen Haiyi
International Trade. Aeolus is thus not eligible for a separate rate.

     B. Whether to Grant GTC a Separate Rate

GTC’s Comments
• GTC argues that, contrary to its established policy and practice, the Department only
  considered two of the four de facto control factors.73 GTC argues that the Department did
  not analyze all four factors of the de facto test or consider the totality of the circumstances.74
• GTC argues that the Department has made no indication that it has changed its separate rate
  test from its longstanding practice established in Sparklers and Silicon Carbide.75
• GTC argues that the Department’s analysis misconstrues the term “de facto control,”
  resulting in a conclusion that is not supported by law.76
• GTC argues that Guiyang Industry Investment Group Co., Ltd. (GIIG) only has a minority
  stake in its shares (i.e., 25 percent), and that every shareholder individually or jointly can
  nominate candidates for directors.77
• GTC argues that it has repeatedly been granted a separate rate in this proceeding, including
  the most recent 2012-2013 administrative review.78

Petitioners’ Rebuttal
• Petitioners argue that we properly determined that GTC and GTCIE are ineligible for a
    separate rate.




73
   See GTC’s Case Brief,, at 3-16 (citing Sparklers at Comment 1; see also Silicon Carbide, at “Separate Rates”
section; see also Furfuryl Alcohol, at “Separate Rates” section; see also Structural Steel Beams, at “Separate Rates”
section; Jiangsu Jiasheng Photovoltaic Technology Co., Ltd., v. United States, 121 F. Supp. 3d 1263, 1339 (CIT
2015) (“Jiangsu Jiasheng”); Tianjin Mach. Import & Export Corp. v. United States, 806 F. Supp. 1008, 1014
(CAFC 1992); AMS Assocs. v. United States, 719 F.3d 1376, 1379 (CAFC 2013) (“AMS”); Advanced Tech. I at
1347; Shandong Huanri (Group) General Co., et al. v. United States, 493 F.Supp.2d 1353, 1357 (CIT 2007)
(“Shandong”)).
74
   Id., at 13-32.
75
   Id., at 29 (citing to Jiangsu Jiasheng at 1339, Sigma Corp. at 1405, AMS at 1379, Sparklers, and Silicon
Carbide).
76
   Id., at 18-19 (citing United States v. Garcia-Andrade, 2013 U.S. Dist. LEXIS 110759, *15 (S.D. CA 2013);
Black’s Law Dictionary 479 (9th ed. 2009); C.f. Ludlum Corp. Pension Plan Trust v. Matty’s Superservice, 156
A.D.2d 339, 548 N.Y.S.2d 292, 293 (2d Dep't 1989)).
77
   Id., at 19-32 (citing Articles 76 and 77 of Articles of Association of GTC, see GTC’s 1st SQR, at Exhibit 1, and
Article 103 of the PRC Company Law, see GTC’s SAQR, at Exhibit A-3. Also citing GTC’s 1st SQR, at Exhibits 6,
7A, 7C, 8, 9 and 12, as well as a similar situation faced by the Department in Notice of Final Determination of Sales
at Less Than Fair Value: Certain Cased Pencils From the People's Republic of China, 59 FR 55625 (November 8,
1994) and accompanying IDM (“Cased Pencils”)).
78
   Id., at 33-35 (citing Certain New Pneumatic Off-the-Road Tires From the People’s Republic of China:
Preliminary Results of Antidumping Duty Administrative Review; 2012-2013, 79 FR 61291 (October 10, 2014), and
accompanying PDM, at 10-11 (“OTR Tires Preliminary 12-13”), unchanged in Certain New Pneumatic Off-the-
Road Tires From the People’s Republic of China: Final Results of Antidumping Duty Administrative Review; 2012–
2013, 80 FR 20197 (April 15 2015) (“OTR Tires 12-13 Final”)).




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•    Petitioners argue that GTC is still subject to government review by Guiyang SASAC, and
     that, accordingly, it cannot show separation from the PRC government.79

Department’s Position: For the final results, we continue to find, based on record evidence,
that GTC is not eligible for a separate rate. In the Preliminary Results, we determined, and
record evidence supports, that a SOE, GIIG, is GTC largest and controlling shareholder. We
would expect any major shareholder, including a government, to control the operations of the
company if afforded that ability by its shareholder rights. 80 As noted below, this opportunity is
provided to the largest shareholding SOE. In the Preliminary Results, we identified additional
record evidence that we found and continue to find, supports this expectation with respect to
GTC in this review.81

Specifically, we found that GTC’s affiliate, GTCIE, is 100-percent owned by GTC.82 GTC is
25.20 percent owned by GIIG, a company which GTC reported is 100-percent owned and
supervised by Guiyang SASAC.83 GTC reported that it is the producer of the subject
merchandise and its affiliate, GTCIE, exported the subject merchandise to the United States
during the POR. The Department previously collapsed GTC and GTCIE into a single entity in
the initial investigation.84 This decision has been unchallenged in each subsequent review,
including the instant review; thus, the Department continues to treat GTC and GTCIE as a single
entity in this review. As the sole owner of GTCIE, GTC has the ability to control, and an interest
in controlling, the operations of the company, including the selection of management and the
profitability of the company. In addition, because the Department preliminarily found that
Guiyang SASAC is in a position to control the activities of GTC through its 100-percent



79
   See Petitioners’ Rebuttal Brief, at 4- 17 (citing to Antidumping Duty Investigation of Certain Passenger Vehicle
and Light Truck Tires From the People's Republic of China: Final Determination of Sales at Less Than Fair Value
and Final Affirmative Determination of Critical Circumstances, In Part, 80 FR 34893 (June 18, 2015), and
accompanying IDM at Comment 38-39 (“PVLT Tires from the PRC Final”). See also OTR Tires Preliminary 12-13,
and accompanying PDM at 10-11; Truck and Bus Preliminary, and accompanying PDM at 16. See letter from
Petitioners, “Administrative Review of the Antidumping Duty Order on New Pneumatic Off-The-Road Tires from
China (A–570–912): Petitioners’ Rebuttal Information and Deficiency Comments regarding Guizhou’s Section A
Questionnaire Response,” dated February 1, 2016 at Attachment 1, 5 (“Petitioners’ GTC SAQR Rebuttal”), (citing
memorandum from the Department, “Antidumping Duty Investigation of Certain Passenger Vehicle and Light
Truck Tires from the People’s Republic of China, Preliminary Separate Rate Determinations,” dated January 20,
2015) at 5 citing letter from GTC submitted on PVLT Tires from the PRC Final, “Separate Rate Application
Supplemental Questionnaire Response in the Antidumping Duty Investigation on Certain Passenger Vehicle and
Light Truck Tires from the People’s Republic of China,” dated December 17, 2014 (“GTC’s PVLT SSRA”));;
GTC’s Case Brief, at 25-34; GTC’s 2nd SQR, at 52 and Exhibits 3B and 7; GTC’s SAQR at Exhibit 3, 7, 10; letter
from Petitioners, “Administrative Review of the Antidumping Duty Order on New Pneumatic Off-The-Road Tires
from China (A–570–912): Petitioners’ Rebuttal Information and Deficiency Comments regarding Guizhou’s Section
A Questionnaire Response,” dated June 6, 2016, at Attachment 1 (“Petitioners’ 2nd SAQR Rebuttal”); GTC’s
SAQR, at 11-12 and Exhibit 3; Advanced Tech. I at 1357; Cased Pencils, 59 FR at 55627-28).
80
   See, e.g., Steel Wire Rod Prelim and accompanying PDM at 5-9, unchanged in Steel Wire Rod Final.
81
   See Preliminary Results, and accompanying PDM at 16. See also Preliminary Separate Rate Memo, at 2-3.
82
   See GTC’s SAQR at 2.
83
   See Preliminary Separate Rate Memorandum, at 2-3; see also GTC’s SAQR, at Exhibit A-7. GTC is the producer,
and GTCIE is its affiliate in charge of export sales.
84
   See OTR Tires LTFV Determination.




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ownership of GTC’s largest shareholder, GIIG, we find that, because GTC owns GTCIE, GTCIE
is also controlled by Guiyang SASAC.85

Our continued denial of a separate rate to GTC in this review is further supported by events that
occurred at GTC’s shareholder meetings in 2012 and 2015 related to the selection of directors
and profit distribution.86 Record evidence shows that GTC elected members of its board of
directors through shareholders’ meetings not available to all shareholders.87 Because GIIG
circumvented a more inclusive board election process, it was able to elect specific board
members of its preference and preferred profit distribution schemes.88 Based on these findings,
we do not find any practical difference between holding shareholder elections to select board
members, or the Guiyang SASAC, through GIIG, directly appointing board members by direct
decree. Therefore, the fact that those shareholder meetings complied with the relevant laws and
the AoA, as GTC argues, is irrelevant in the instant case.89 Thus, the Department finds that GIIG
appointed a majority of the members of GTC’s board of directors as evidenced in the voting
record for the shareholder meetings during the POR.90 Additionally, the voting records show
that GIIG controlled profit distribution during the POR.91

GTC asserts that its AoA insulates it from government interference through its prescribed
nomination process for its board of directors and senior management. However, the Department
finds that GTC’s nomination and voting processes for directors and management under Articles
40, 43, 83, and 117 of the AoA allowed Guiyang SASAC, through GIIG, to influence the board
nomination process.92 Article 83 allows only shareholders with 10 percent or more of voting
shares held individually or jointly to nominate directors.93 Moreover, as GIIG is the only
shareholder with more than 10 percent ownership, record evidence fails to demonstrate any
nominations of directors without GIIG involvement.94 Moreover, record evidence suggests that
no other individual shareholder owns the requisite percentage to nominate members to GTC’s
board.95 As a result of its position, GIIG exercises influence over the selection of GTC’s board.
Furthermore, certain articles allow GIIG to remain in a supervisory position over GTC despite its
diminished ownership. Specifically, as noted above, Article 32(3) of GTC’s AoA allows certain
shareholders, including GIIG, the ability to supervise the operations of the Company and put
forward suggestions and raise inquiries.96 Thus, other than its own restraint, nothing in GTC’s
AoA prevents GIIG from engaging in behavior that interferes with the autonomy of GTC, and in


85
   Id.
86
   See GTC’s 1st SQR, at 3 and Exhibits 6 and 7. For further discussion, including the business proprietary
information, see the Preliminary Separate Rate Memo.
87
   See GTC’s 3rd SQR, at 3 and Exhibits 2, 4, 6, 7, and 8.
88
   See Preliminary Separate Rate Memo, at 2-3, where the Department detailed GIIG’s control over the nomination
and selection of board members in during the POR.
89
   See GTC’s Case Brief, at 20 and 27.
90
   See Preliminary Separate Rate Memo for business proprietary information detailing this control.
91
   Id.
92
   See GTC’s 3rd SQR, at 2 and Exhibit 2, 4, 6, 7, and 8; see also Preliminary Separate Rate Memo, at 2-3.
93
   Id.
94
   Id.
95
   See GTC’s 1st SQR at Exhibit 1.
96
   Id.




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turn its 100-percent owned affiliate GTCIE.97 Additionally, the Department notes that certain
BPI record evidence suggests that GIIG exercised certain rights under AoA provisions that
effectively controlled the distribution of profits, during the POR.98

Furthermore, GTC argues that Articles 40, 43, 83, and 117 of the AoA support its assertion of
strict voting procedures, which allow voting access through cumulative voting and online voting
to all shareholders, are irrelevant to the Department’s finding of the GIIG’s de facto control over
the selection of management. As noted above, the provisions cited did little to prevent GIIG
from electing the board members of its preference.99 Neither GTC’s cumulative voting nor on-
line voting prevented GIIG from circumventing the election outcome by requesting a special
shareholder meeting, in which it elected its preferred board members to GTC’s board of
directors, in turn allowing its influence to flow to GTC’s 100-percent owned affiliate GTCIE.100

Moreover, though we acknowledge that the AoA cited by GTC on its surface appears to place
safeguards against undue influence by large shareholders in the selection of GTC’s senior
managers, the record demonstrates that those safeguards were unsuccessful in the instant case.
GIIG was ultimately able to dominate GTC’s decision-making process, despite such safeguards,
and appoint its preferred members to GTC’s board, as well as control profit distribution.101 In
the instant case, the Department finds the provisions do not ensure the absence of the de facto
control of the selection of management or profit distribution schemes by certain shareholders.
Specifically, the provisions still allow Guiyang SASAC through GIIG, the authority to make
decisions for GTC, which appoints GTCIE’s senior management, as well as sets GTCIE’s
business operations agenda.102 Therefore, we continue to find that GTC is not eligible for a
separate rate in this review.

Furthermore, the Department rejects Petitioners’ assertion that we deny GTC’s separate rate
because of unsubstantiated claims of Guiyang SASAC’s review during the POR. Petitioners
have failed to demonstrate their claim through record evidence. Specifically, most of the
documents placed on the record supporting Petitioners’ allegations of Guiyang SASAC’s
performance review pre-date the POR, dating back to 2013. They are thus not pertinent to this
review. Accordingly, our decision is wholly based on our findings as discussed above. Thus, the
Department sees no need to analyze evidence pre-dating the POR. Additionally, the Department
notes, because Guiyang SASAC’s October 2015 notice announcing increased annual supervision
and inspection of administered enterprises fails to identify specific companies subject to annual
supervision and inspection this information was not used in our determination that GTCIE is
under PRC government control.103



97
   Id.
98
   See GTC’s 2nd SQR at Exhibit 7.
99
   Id.; see also Preliminary Separate Rate Memo, at 3 (citing GTC’s 1st SQR, at 3 and Exhibits 2, 4, 6, 7, and 8).
100
    Id.
101
    See GTC’s 2nd SQR at Exhibit 7.
102
    See GTC’s SAQR at 11-12 and Exhibit A-2.
103
    See Petitioners’ Rebuttal Brief at 7 (citing Petitioners’ Rebuttal Information and Deficiency Comments regarding
Guizhou’s Supplemental Section A Questionnaire Response (June 6, 2016)).




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                                                Please enter through the library, located                future. In its advisory capacity, NACIE               the PRC-wide entity. The final dumping
                                                on the corner of 15th St. and                            also serves as a vehicle for ongoing                  margins for this review are listed in the
                                                Pennsylvania Ave. NW., Washington,                       dialogue with the innovation,                         ‘‘Final Results’’ section of this notice,
                                                DC 20230. Please note that pre-clearance                 entrepreneurship, and workforce                       below.
                                                is required in order to make a statement                 development communities.
                                                during the public comment portion of                        The final agenda for the meeting will              DATES: Effective April 21, 2017.
                                                the meeting. Please be sure to keep all                  be posted on the NACIE Web site at                    FOR FURTHER INFORMATION CONTACT:
                                                comments to five minutes or less, and                    http://www.eda.gov/oie/nacie/ prior to                Amanda Mallott or Keith Haynes, AD/
                                                submit a brief statement summarizing                     the meeting. Any member of the public                 CVD Operations, Office III, Enforcement
                                                your comment to Craig Buerstatte (see                    may submit pertinent questions and                    and Compliance, International Trade
                                                contact information below) no later than                 comments concerning the NACIE’s                       Administration, U.S. Department of
                                                11:59 p.m. ET on Friday, April 28, 2017.                 affairs at any time before or after the               Commerce, 1401 Constitution Avenue
                                                                                                         meeting. Comments may be submitted                    NW., Washington, DC 20230; telephone
                                                Teleconference
                                                                                                         to the Office of Innovation and                       (202) 482–6430 and (202) 482–5139,
                                                May 2, 2017                                              Entrepreneurship at the contact                       respectively.
                                                  Via WebEx: https://doclibrary-                         information below. Those unable to
                                                                                                         attend the meetings in person but                     SUPPLEMENTARY INFORMATION:
                                                events.webex.com/doclibrary-events/
                                                onstage/g.php?MTID=e409cca3fd5c1f89                      wishing to listen to the proceedings can              Background
                                                e11872defbf0b82d3                                        do so through a conference call line
                                                  Dial-In: +1 650 479 3207.                              accessible via +1 650 479 3207 with                      On October 14, 2016, the Department
                                                  Passcode: 395 802 029.                                 passcode 395 802 029 on May 2, 2017,                  published its Preliminary Results of the
                                                                                                         and +1 650 479 3207 with passcode 395                 antidumping duty administrative review
                                                May 3, 2017                                              621 725 on May 3, 2017. Copies of the                 of OTR tires from the PRC.1 In
                                                   Via WebEx: https://doclibrary-                        meeting minutes will be available by                  accordance with 19 CFR 351.309, we
                                                events.webex.com/doclibrary-events/                      request within 90 days of the meeting                 invited interested parties to comment on
                                                onstage/g.php?MTID=ed1e75ff9e9a7b9                       date.                                                 the preliminary results. On December
                                                bf687494cb34088f35.                                        Dated: April 17, 2017.
                                                                                                                                                               22, 2016, in accordance with section
                                                   Dial-In: +1 650 479 3207.                                                                                   751(a)(3)(A) of the Tariff Act of 1930, as
                                                                                                         Craig Buerstatte,
                                                   Passcode: 395 621 725.                                                                                      amended (‘‘the Act’’), the Department
                                                                                                         Acting Director, Office of Innovation and             extended the period for issuing the final
                                                FOR FURTHER INFORMATION CONTACT:                         Entrepreneurship.
                                                Craig Buerstatte, Office of Innovation                                                                         results of this review by sixty-days, to
                                                                                                         [FR Doc. 2017–08084 Filed 4–20–17; 8:45 am]
                                                and Entrepreneurship, Room 78018,                                                                              April 12, 2017.2
                                                                                                         BILLING CODE 3510–WH–P
                                                1401 Constitution Avenue NW.,                                                                                     We received case briefs from Titan
                                                Washington, DC 20230; email: nacie@                                                                            Tire Corporation and the United Steel,
                                                doc.gov; telephone: +1 202 482 8001;                     DEPARTMENT OF COMMERCE                                Paper and Forestry, Rubber,
                                                fax: +1 202 273 4781. Please reference                                                                         Manufacturing, Energy, Allied
                                                ‘‘NACIE May 2017 Meeting’’ in the                        International Trade Administration                    Industrial and Service Workers
                                                subject line of your correspondence.                                                                           International Union, AFL–CIO–CLC
                                                                                                         [A–570–912]
                                                SUPPLEMENTARY INFORMATION: NACIE,                                                                              (‘‘Petitioners’’), the mandatory
                                                established by Section 25(c) of the                      Certain New Pneumatic Off-the-Road                    respondents Xuzhou Xugong Tyres Co.,
                                                Stevenson-Wydler Technology                              Tires From the People’s Republic of                   Ltd. (‘‘Xugong’’) 3 and Guizhou Tyre Co.,
                                                Innovation Act of 1980, as amended (15                   China: Final Results of Antidumping
                                                U.S.C. 3720(c)), and managed by EDA’s                    Duty Administrative Review; 2014–                        1 See Certain New Pneumatic Off-the-Road Tires

                                                Office of Innovation and                                                                                       From the People’s Republic of China: Preliminary
                                                                                                         2015                                                  Results of Antidumping Duty Administrative
                                                Entrepreneurship (OIE), is a Federal                                                                           Review; 2014–2015, 81 FR 71068 (October 14, 2016)
                                                Advisory Committee Act (FACA)                            AGENCY: Enforcement and Compliance,                   (‘‘Preliminary Results’’) and accompanying
                                                committee that provides advice directly                  International Trade Administration,                   ‘‘Decision Memorandum for Preliminary Results of
                                                to the Secretary of Commerce. NACIE’s                    Department of Commerce (Commerce).                    Antidumping Duty Administrative Review: Certain
                                                                                                                                                               New Pneumatic Off-the-Road Tires from the
                                                advice focuses on transformational                       SUMMARY: On October 14, 2016, the
                                                                                                                                                               People’s Republic of China; 2014–2015,’’ dated
                                                policies and programs that aim to                        Department of Commerce                                October 5, 2016 (‘‘PDM’’).
                                                accelerate innovation and increase the                   (‘‘Department’’) published the                           2 See Memorandum to Christian Marsh titled,

                                                rate at which research is translated into                preliminary results of the seventh                    Certain New Pneumatic Off-the-Road Tires from the
                                                companies and jobs, including through                    administrative review of the                          People’s Republic of China: Extension of Deadline
                                                                                                                                                               for Final Results of Antidumping Duty
                                                entrepreneurship and the development                     antidumping duty order on certain new                 Administrative Review; 2014–2015, dated
                                                of an increasingly skilled, globally                     pneumatic off-the-road tires (‘‘OTR                   December 22, 2016.
                                                competitive workforce. Comprised of                      tires’’) from the People’s Republic of                   3 The Department previously collapsed Xugong

                                                successful entrepreneurs, innovators,                    China (‘‘PRC’’) and provided to                       and its affiliates Xuzhou Armour Rubber Company
                                                                                                                                                               Ltd. (‘‘Armour’’) and Xuzhou Hanbang Tyre Co.,
                                                angel investors, venture capitalists, and                interested parties an opportunity to                  Ltd. (‘‘Hanbang’’) into a single entity; see Certain
                                                leaders from the nonprofit and academic                  comment on these preliminary results.                 New Pneumatic Off-The-Road Tires From The
                                                sectors, NACIE has presented to the                      Based on our analysis of the comments                 People’s Republic Of China: Preliminary Results Of
                                                Secretary recommendations from                           received, we made certain changes in                  Antidumping Duty Administrative Review; 2013–
sradovich on DSK3GMQ082PROD with NOTICES




                                                                                                                                                               2014, 80 FR 61166, 61167 (October 9, 2015),
                                                throughout the research-to-jobs                          the margin calculation regarding one                  unchanged in Certain New Pneumatic Off-the-Road
                                                continuum regarding topics including                     mandatory respondent, Xuzhou Xugong                   Tires From the People’s Republic of China: Final
                                                improving access to capital, growing                     Tyres Co., Ltd. (‘‘Xugong’’). We also                 Results of Antidumping Duty Administrative
                                                and connecting entrepreneurial                           continue to find that the other                       Review; 2013–2014, 81 FR 23272 (April 20, 2016).
                                                                                                                                                               This decision is unchallenged in the instant review;
                                                ecosystems, increasing small business-                   mandatory respondent, Guizhou Tyre                    thus, the Department continues to treat Xugong,
                                                driven research and development, and                     Co., Ltd. (‘‘GTC’’), is not eligible for              Armour, and Hanbang as a single entity
                                                understanding the workforce of the                       separate rate status and, thus, is part of            (collectively, ‘‘Xugong’’).

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                                                Ltd. (‘‘GTC’’),4 and separate rate                       issues that parties raised and to which               further discussion, see Issues and
                                                applicants Aeolus Tyre Co., Ltd.                         we responded in the Issues and                        Decision Memorandum at Comment 1.
                                                (‘‘Aeolus’’) and Qingdao Free Trade                      Decision Memorandum is attached as
                                                                                                                                                               Rate for Non-Individually-Examined
                                                Zone Full-World International Trading                    Appendix I to this notice. The Issues
                                                                                                                                                               Separate Rate Companies
                                                Co., Ltd. (‘‘Qingdao FTZ’’). We received                 and Decision Memorandum is a public
                                                rebuttal briefs from Petitioners, Xugong,                document and is on file electronically                   The statute and the Department’s
                                                GTC, and separate rate applicants                        via Enforcement and Compliance’s                      regulations do not address the
                                                Zhongce Rubber Group Company                             Antidumping and Countervailing Duty                   establishment of a rate to be assigned to
                                                Limited (‘‘Zhongce’’) and Qingdao                        Centralized Electronic Service System                 respondents not selected for individual
                                                Jinhaoyang International Co., Ltd.                       (‘‘ACCESS’’). ACCESS is available to                  examination when the Department
                                                (‘‘Jinhaoyang’’). On February 15, 2017,                  registered users at http://                           limits its examination of companies
                                                the Department held a public hearing at                  access.trade.gov and it is available to all           subject to the administrative review
                                                the request of interested parties. For a                 parties in the Central Records Unit,                  pursuant to section 777A(c)(2)(B) of the
                                                further discussion of the events that                    room B8024 of the main Department of                  Act. Generally, the Department looks to
                                                occurred in this investigation                           Commerce building. In addition, a                     section 735(c)(5) of the Act, which
                                                subsequent to the Preliminary Results,                   complete version of the Issues and                    provides instructions for calculating the
                                                see the Issues and Decision                              Decision Memorandum can be accessed                   all-others rate in an investigation, for
                                                Memorandum.5                                             directly on the Internet at http://                   guidance when calculating the rate for
                                                                                                         enforcement.trade.gov/frn/index.html.                 respondents not individually examined
                                                Scope of the Order                                                                                             in an administrative review. Section
                                                                                                         The signed Issues and Decision
                                                   The merchandise covered by this                       Memorandum and electronic version of                  735(c)(5)(A) of the Act articulates a
                                                order includes new pneumatic tires                       the Issues and Decision Memorandum                    preference for not calculating an all-
                                                designed for off-the-road and off-                       are identical in content.                             others rate using rates which are zero,
                                                highway use, subject to certain                                                                                de minimis, or based entirely on facts
                                                exceptions. The subject merchandise is                   Final Determination of No Shipments                   available.9 Accordingly, the
                                                currently classifiable under Harmonized                     As noted in the Preliminary Results,               Department’s usual practice has been to
                                                Tariff Schedule of the United States                     we received a no-shipment certification               determine the dumping margin for
                                                (‘‘HTSUS’’) subheadings: 4011.20.10.25,                  from Trelleborg Wheel Systems Hebei                   companies not individually examined
                                                4011.20.10.35, 4011.20.50.30,                            Co. (‘‘TWS Hebei’’).6 Consistent with its             by averaging the weighted-average
                                                4011.20.50.50, 4011.61.00.00,                            practice, the Department asked U.S.                   dumping margins for the individually
                                                4011.62.00.00, 4011.63.00.00,                            Customs and Border Protection (‘‘CBP’’)               examined respondents, excluding rates
                                                4011.69.00.00, 4011.92.00.00,                            to conduct a query on potential                       that are zero, de minimis, or based
                                                4011.93.40.00, 4011.93.80.00,                            shipments made by TWS Hebei during                    entirely on facts available.10 In this
                                                4011.94.40.00, and 4011.94.80.00. The                    the POR. CBP did not provide any                      review, we have calculated a weighted-
                                                HTSUS subheadings are provided for                       evidence contradicting TWS Hebei’s no-                average dumping margin for Xugong
                                                convenience and customs purposes                         shipment claim.7 No interested party                  that is above de minimis and not based
                                                only; the written product description of                 provided comments on this issue. Thus,                entirely on facts available. Therefore,
                                                the scope of the order is dispositive. For               based on TWS Hebei’s certification and                consistent with the Department’s
                                                a complete description of the scope of                   our analysis of information received                  practice, we have assigned to Desizheng,
                                                the order, see the Issues and Decision                   from CBP, we determine that TWS                       Jinhaoyang, Jintongda, Sailun, Qingdao
                                                Memorandum.                                              Hebei did not have any reviewable                     FTZ, Qihang, TWS Xingtai, Zhongwei,
                                                                                                         transactions during the POR.                          and Zhongce the weighted-average
                                                Analysis of Comments Received                                                                                  dumping margin calculated for Xugong
                                                  All issues raised in the case and                      Separate Rates                                        as the separate rate for this review.
                                                rebuttal briefs filed by parties in this                    In the Preliminary Results, we                     Changes Since the Preliminary Results
                                                review are addressed in the Issues and                   determined that Shiyan Desizheng
                                                                                                                                                                 Based on an analysis of the comments
                                                Decision Memorandum, which is hereby                     Industry & Trade Co., Ltd.
                                                                                                                                                               received, we made certain calculation
                                                adopted by this notice. A list of the                    (‘‘Desizheng’’), Sailun Jinyu Group Co.,
                                                                                                                                                               changes and revisions to the valuation
                                                                                                         Ltd. (‘‘Sailun’’), Weifang Jintongda Tyre
                                                                                                                                                               of certain factors of production since the
                                                   4 In the initial investigation, the Department
                                                                                                         Co., Ltd. (‘‘Jintongda’’), Trelleborg
                                                collapsed GTC and Guizhou Tyre Import and                                                                      Preliminary Results with respect to
                                                                                                         Wheel Systems (Xingtai) China, Co. Ltd.
                                                Export Corporation (‘‘GTCIE’’) into a single entity,                                                           Xugong’s margin calculation, and have
                                                see Certain New Pneumatic Off-The-Road Tires             (‘‘TWS Xingtai’’), Weihai Zhongwei
                                                                                                                                                               updated Xugong’s margin accordingly.
                                                From the People’s Republic of China; Preliminary         Rubber Co., Ltd. (‘‘Zhongwei’’),
                                                                                                                                                               For further details on the changes made
                                                Determination of Sales at Less Than Fair Value and       Zhongce, Qingdao Qihang Tyre Co.
                                                Postponement of Final Determination, 73 FR 9278,         (‘‘Qihang’’), Jinhaoyang, and Qingdao
                                                9283 (February 20, 2008), unchanged in Certain                                                                   9 See Ball Bearings and Parts Thereof From

                                                New Pneumatic Off-The-Road Tires from the                FTZ are eligible for separate-rate status.            France, Germany, Italy, Japan, and the United
                                                People’s Republic of China: Final Affirmative            We also preliminarily determined that                 Kingdom: Final Results of Antidumping Duty
                                                Determination of Sales at Less Than Fair Value and       Aeolus, Tianjin Leviathan International               Administrative Reviews and Rescission of Reviews
                                                Partial Affirmative Determination of Critical            Trade Co., Ltd. (‘‘Leviathan’’), and GTC              in Part, 73 FR 52823, 52824 (September 11, 2008),
                                                Circumstances, 73 FR 40485 (July 15, 2008). This                                                               and accompanying Issues and Decision
                                                decision is unchallenged in the instant review;          were not eligible for a separate rate, and            Memorandum at Comment 16.
                                                thus, the Department continues to treat GTC and          are thus part of the PRC-wide entity.8                  10 See, e.g., Preliminary Determination of Sales at
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                                                GTCIE as a single entity (collectively, ‘‘GTC’’).        We made no changes to these                           Less Than Fair Value and Partial Affirmative
                                                   5 See Memorandum to Ronald K. Lorentzen,                                                                    Determination of Critical Circumstances: Certain
                                                                                                         determinations for the final results. For
                                                Acting Assistant Secretary for Enforcement and                                                                 Polyester Staple Fiber from the People’s Republic of
                                                Compliance, ‘‘Issues and Decision Memorandum for                                                               China, 71 FR 77373, 77377 (December 26, 2006),
                                                                                                           6 See Preliminary Results, 81 FR at 71068.
                                                Final Results of Antidumping Duty Administrative                                                               unchanged in Final Determination of Sales at Less
                                                                                                           7 See CBP Message Number 6207309, dated July
                                                Review: Certain New Pneumatic Off-the-Road Tires                                                               Than Fair Value and Partial Affirmative
                                                from the People’s Republic of China; 2014–2015,’’        25, 2016.                                             Determination of Critical Circumstances: Certain
                                                adopted by and dated concurrently with this notice         8 See Preliminary Results, 81 FR at 71069–70, and   Polyester Staple Fiber from the People’s Republic of
                                                (‘‘Issues and Decision Memorandum’’).                    accompanying PDM at the ‘‘Separate Rates’’ section.   China, 72 FR 19690 (April 19, 2007).

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                                           VerDate Sep<11>2014   17:30 Apr 20, 2017    Jkt 241001   PO 00000   Frm 00007   Fmt 4703   Sfmt 4703   E:\FR\FM\21APN1.SGM   21APN1




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                                                                          Case: 23-2163                              Document: 25                             Page: 32                     Filed: 11/06/2023
                                                                                             Barcode:3565076-01 A-570-912 REV - Admin Review 9/1/14 - 8/31/15
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                                                since the Preliminary Results, see the                                  assigned to Desizheng, Jinhaoyang,                                      Final Results
                                                Issues and Decision Memorandum.11                                       Jintongda, Sailun, Qingdao FTZ,                                           As a result of this administrative
                                                   In light of changes made since the                                   Qihang, TWS Xingtai, Zhongwei, and                                      review, we determine that the following
                                                Preliminary Results which altered                                       Zhongce to reflect Xugong’s margin for                                  weighted-average dumping margins
                                                Xugong’s margin, we have updated the                                    the final results.                                                      exist for the period September 1, 2014,
                                                separate rate that was preliminarily                                                                                                            through August 31, 2015:

                                                                                                                                                                                                                                         Weighted-average
                                                                                                                                    Exporter                                                                                              dumping margin
                                                                                                                                                                                                                                             (percent)

                                                Xuzhou Xugong Tyres Co., Ltd., Armour Rubber Company Ltd., or Xuzhou Hanbang Tyre Co., Ltd ........................................                                                                 33.08
                                                Shiyan Desizheng Industry & Trade Co., Ltd ................................................................................................................................                         33.08
                                                Qingdao Jinhaoyang International Co., Ltd ...................................................................................................................................                       33.08
                                                Sailun Jinyu Group Co., Ltd ..........................................................................................................................................................              33.08
                                                Weifang Jintongda Tyre Co., Ltd ...................................................................................................................................................                 33.08
                                                Zhongce Rubber Group Company Limited ...................................................................................................................................                            33.08
                                                Weihai Zhongwei Rubber Co., Ltd ................................................................................................................................................                    33.08
                                                Qingdao Qihang Tyre Co ..............................................................................................................................................................               33.08
                                                Qingdao Free Trade Zone Full-World International Trading Co., Ltd ...........................................................................................                                       33.08
                                                Trelleborg Wheel Systems (Xingtai) China, Co. Ltd .....................................................................................................................                             33.08



                                                  Additionally, as in the Preliminary                                   amounts based on the ratio of the total                                 merchandise, any suspended entries
                                                Results, the Department determines that                                 amount of dumping duties calculated                                     that entered under that exporter’s case
                                                Guizhou Tyre Co., Ltd. and Guizhou                                      for the examined sales of subject                                       number (i.e., at that exporter’s rate) will
                                                Tyre Import and Export Corporation,                                     merchandise to the total sales quantity                                 be liquidated at the PRC-wide rate.
                                                Aeolus Tyre Co., Ltd., and Tianjin                                      of those same sales.13 For customers or
                                                                                                                                                                                                Cash Deposit Requirements
                                                Leviathan International Trade Co., Ltd.,                                importers of Xugong for which we
                                                are part of the PRC-wide entity.                                        received entered-value information, we                                     The following cash deposit
                                                                                                                        have calculated importer- (or customer-                                 requirements will be effective for all
                                                Disclosure                                                              ) specific antidumping duty assessment                                  shipments of the subject merchandise
                                                  We intend to disclose the calculations                                rates based on importer- (or customer-)                                 entered, or withdrawn from warehouse,
                                                performed regarding these final results                                 specific ad valorem rates.14 Where an                                   for consumption on or after the
                                                within five days of the date of                                         importer- or (customer-) specific ad                                    publication date of the final results of
                                                publication of this notice to parties in                                valorem rate is greater than de minimis,                                this administrative review, as provided
                                                this proceeding, in accordance with 19                                  the Department will instruct CBP to                                     by section 751(a)(2)(C) of the Act: (1)
                                                CFR 351.224(b).                                                         collect the appropriate duties at the time                              For the exporters listed above, the cash
                                                                                                                        of liquidation.15 For the non-examined                                  deposit rate will be equal to the
                                                Assessment Rates                                                                                                                                weighted-average dumping margin
                                                                                                                        separate rate companies, we will
                                                   The Department shall determine, and                                  instruct CBP to liquidate all appropriate                               identified in the ‘‘Final Results’’ section
                                                CBP shall assess, antidumping duties on                                 entries at 33.08 percent. For those                                     of this notice, above; (2) for previously
                                                all appropriate entries covered by this                                 entities that are subject to this review                                investigated or reviewed PRC and non-
                                                review pursuant to section 751(a)(2)(C)                                 that the Department has determined are                                  PRC exporters that are not under review
                                                of the Act and 19 CFR 351.212(b)(1).12                                  part of the PRC-wide entity (i.e., GTC                                  in this segment of the proceeding but
                                                The Department intends to issue                                         and GTCIE, Aeolus Tyre Co., Ltd., and                                   that received a separate rate in a
                                                assessment instructions directly to CBP                                 Tianjin Leviathan International Trade                                   previous segment, the cash deposit rate
                                                15 days after the date of publication of                                Co., Ltd.), we will instruct CBP to                                     will continue to be the exporter-specific
                                                these final results of administrative                                   liquidate all appropriate entries at the                                rate (or exporter-producer chain rate)
                                                review.                                                                 PRC-wide rate of 105.31 percent.16                                      published for the most recently
                                                   For Xugong, the Department will                                      Pursuant to a refinement in the                                         completed segment of this proceeding in
                                                calculate importer-specific assessment                                  Department’s non-market economy                                         which the exporter was reviewed; (3) for
                                                rates on the basis of the ratio of the total                            (‘‘NME’’) practice, for entries that were                               all PRC exporters of subject
                                                amount of dumping calculated for the                                    not reported in the U.S. sales databases                                merchandise which have not been
                                                importer’s examined sales to the total                                  submitted by companies individually                                     found to be entitled to a separate rate,
                                                entered value of sales, in accordance                                   examined during this review, the                                        the cash deposit rate will be the PRC-
                                                with 19 CFR 351.212(b)(1). For                                          Department will instruct CBP to                                         wide rate of 105.31 percent; and (4) for
                                                customers or importers of Xugong for                                    liquidate such entries at the PRC-wide                                  all non-PRC exporters of subject
                                                which we do not have entered values,                                    rate.17 In addition, if the Department                                  merchandise which have not received
                                                we calculated importer- (or customer-)                                  determines that an exporter under                                       their own rate, the cash deposit rate will
                                                specific antidumping duty assessment                                    review had no shipments of subject                                      be the rate applicable to the PRC
                                                  11 See also Memorandum to the File, ‘‘Final                           of the Final Results Margin Calculation for Xuzhou                         14 Id.
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                                                Results of the 2014–2015 Administrative Review of                       Xugong Tyres Co., Ltd.,’’ dated concurrently with                          15 See 19 CFR 351.212(b)(1).

                                                the Antidumping Duty Order on Certain New                               this notice.                                                              16 The PRC-wide rate was determined in Certain
                                                Pneumatic off-The-Road Tires from the People’s                            12 See Antidumping Proceeding: Calculation of
                                                                                                                                                                                                New Pneumatic Off-the-Road Tires From the
                                                Republic of China: Surrogate Value Memorandum,’’                        the Weighted-Average Dumping Margin and                                 People’s Republic of China: Final Results of
                                                dated concurrently with this notice; and                                Assessment Rate in Certain Antidumping Duty                             Antidumping Duty Administrative Review; 2012–
                                                Memorandum to the File, ‘‘2014–2015                                     Proceedings; Final Modification, 77 FR 8103                             2013, 80 FR 20197 (April 15, 2015).
                                                Administrative Review of the Antidumping Duty                           (February 14, 2012) (‘‘NME Antidumping                                    17 See Non-Market Economy Antidumping

                                                Order on Certain New Pneumatic Off-the-Road                             Proceedings’’).                                                         Proceedings: Assessment of Antidumping Duties, 76
                                                Tires from the People’s Republic of China: Analysis                       13 See 19 CFR 351.212(b)(1).                                          FR 65694 (October 24, 2011).

                                                                          Filed By: Amanda Mallott, Filed Date: 4/21/17 8:51 AM, Submission Status: Approved
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                                                                                                                                             Appx91
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                                                exporter(s) that supplied that non-PRC                     Comment 6: Surrogate Value for Tire                 Communications Technology
                                                exporter. These cash deposit                                  Valves                                           Laboratory, NIST by email at
                                                requirements, when imposed, shall                          Comment 7: Warehousing Expense                      sheryl.genco@nist.gov; telephone (303–
                                                                                                              Calculation for Xugong
                                                remain in effect until further notice.                                                                         497–3591) or fax (303–497–6665).
                                                                                                           Comment 8: Whether to Adjust Xugong’s
                                                                                                              U.S. Prices for Irrecoverable Value              Please direct media inquiries to the
                                                Notification to Importers
                                                                                                              Added Tax                                        NIST Public Affairs Officer, Laura Ost
                                                  This notice serves as a final reminder                   Comment 9: Additional Comments Raised               by email at laura.ost@nist.gov or
                                                to importers of their responsibility                          by GTC                                           telephone (303–497–4880).
                                                under 19 CFR 351.402(f)(2) to file a                     VII. Recommendation                                   SUPPLEMENTARY INFORMATION: NASCTN
                                                certificate regarding the reimbursement                  [FR Doc. 2017–08011 Filed 4–20–17; 8:45 am]           provides a neutral forum for addressing
                                                of antidumping and/or countervailing                     BILLING CODE 3510–DS–P                                spectrum-sharing challenges to
                                                duties prior to liquidation of the                                                                             accelerate the deployment of wireless
                                                relevant entries during this review                                                                            technologies among commercial and
                                                period. Failure to comply with this                      DEPARTMENT OF COMMERCE                                federal users. NASCTN was created in
                                                requirement could result in the                                                                                2015 and is a joint effort among NIST,
                                                Secretary’s presumption that                             National Institute of Standards and                   the National Telecommunications and
                                                reimbursement of the antidumping and/                    Technology                                            Information Administration, and the
                                                or countervailing duties occurred and                                                                          United States Department of Defense.
                                                the subsequent assessment of double                      Impact of Long Term Evolution Signals                 NASCTN’s mission is to provide robust
                                                antidumping duties.                                      on Global Positioning System                          test processes and validated
                                                                                                         Receivers                                             measurement data necessary to develop,
                                                Administrative Protective Order
                                                                                                         AGENCY: National Institute of Standards               evaluate and deploy spectrum sharing
                                                   This notice also serves as a reminder
                                                                                                         and Technology, Department of                         technologies that can increase access to
                                                to parties subject to administrative
                                                                                                         Commerce.                                             the spectrum by both Federal agencies
                                                protective order (‘‘APO’’) of their
                                                                                                         ACTION: Notice of public meeting.                     and non-federal spectrum users.
                                                responsibility concerning the return or
                                                                                                                                                               NASCTN conducts projects with private
                                                destruction of proprietary information                   SUMMARY: The National Institute of                    sector entities via Cooperative Research
                                                disclosed under the APO in accordance                    Standards and Technology (NIST)                       and Development Agreements
                                                with 19 CFR 351.305(a)(3), which                         announces that National Advanced                      (CRADA).1 NASCTN has completed the
                                                continues to govern business                             Spectrum and Communications Test                      ‘‘Impacts of LTE Signals on GPS
                                                proprietary information in this segment                  Network (NASCTN) will hold a public                   Receivers’’ project and released the
                                                of the proceeding. Timely written                        meeting on May 4, 2017 to inform the                  NASCTN report ‘‘LTE Impacts on GPS’’
                                                notification of the return/destruction of                public about the NASCTN project                       on February 15, 2017. The report
                                                APO materials or conversion to judicial                  ‘‘Impact of Long Term Evolution (LTE)                 describes the project, the test
                                                protective order is hereby requested.                    signals on Global Positioning System                  methodology and the test results and is
                                                Failure to comply with the regulations                   (GPS) Devices’’. At this meeting, the                 available at: http://nvlpubs.nist.gov/
                                                and terms of an APO is a violation                       public will learn about this project, as              nistpubs/TechnicalNotes/
                                                which is subject to sanction.                            described in the report released to the               NIST.TN.1952.pdf.
                                                   We are issuing and publishing these                                                                            The focus of this NASCTN project,
                                                                                                         public on February 15, 2017, available
                                                final results of administrative review in                                                                      proposed by Ligado Networks in 2016
                                                                                                         at: http://nvlpubs.nist.gov/nistpubs/
                                                accordance with sections 751(a)(1) and                                                                         and conducted under a CRADA between
                                                                                                         TechnicalNotes/NIST.TN.1952.pdf. A
                                                777(i) of the Act.                                                                                             NIST and Ligado Networks, was the
                                                                                                         summary of NASCTN’s test
                                                  Dated: April 12, 2017.                                 methodology and an overview of the test               development of a test methodology to:
                                                Ronald K. Lorentzen,                                     results will be provided as well.                     (1) Investigate the impact of LTE signals
                                                Acting Assistant Secretary for Enforcement               DATES: The meeting will be held on                    on GPS devices that operate in the GPS
                                                and Compliance.                                          Thursday, May 4, 2017, from 9:00 a.m.                 L1 frequency band; and (2) perform
                                                                                                         to 12:00 p.m. Eastern Time. To attend                 radiated radio-frequency measurements
                                                Appendix                                                                                                       on a representative set of GPS devices
                                                                                                         the meeting in person you must register
                                                Issues and Decision Memorandum
                                                                                                         in advance by 5:00 p.m. Eastern Time                  to validate the test methodology.
                                                I. Summary                                                                                                        At the start of the project, NASCTN
                                                                                                         on Tuesday, May 2, 2017. In order to
                                                II. Background                                                                                                 convened a panel of technical experts to
                                                                                                         access the WebEx you must register in
                                                III. Scope of the Order                                                                                        develop a test plan with the following
                                                IV. Changes since the Preliminary Results
                                                                                                         advance by 5:00 p.m. Eastern Time on
                                                                                                                                                               objectives: Develop a test plan that is
                                                V. List of Comments                                      Wednesday, May 3, 2017. For
                                                                                                                                                               transparent, reproducible, and well-
                                                VI. Discussion of the Issues                             instructions on how to register to
                                                                                                                                                               calibrated; develop sound, statistically-
                                                   Comment 1: Separate Rates                             participate in the meeting, please see
                                                   A. Whether to Grant Aeolus a Separate
                                                                                                                                                               valid data retrieval and processing
                                                                                                         the SUPPLEMENTARY INFORMATION section
                                                      Rate                                                                                                     techniques; provide a clear path from
                                                                                                         of this notice.
                                                   B. Whether to Grant GTC a Separate Rate                                                                     measurement setup, to data collection,
                                                                                                         ADDRESSES: The meeting will be held at                to processed results; and provide data to
                                                   C. Whether to Grant Jinhaoyang a Separate
                                                      Rate                                               MITRE Campus, Building 1, 7525                        inform discussions between different
                                                   D. Whether to Grant Zhongce a Separate                Colshire Drive, McLean VA, 22102.                     interested parties on proper
                                                                                                         Directions to the MITRE McLean
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                                                      Rate                                                                                                     measurement requirements. The goal
                                                   Comment 2: Calculation of the Cost of                 Campus are available at: https://
                                                      Tube and Flap Inputs for Xugong                    www.mitre.org/sites/default/files/pdf/                   1 A CRADA is the principal mechanism used by
                                                   Comment 3: Surrogate Value for Smoked                 mclean-campus-map.pdf. The meeting                    Federal laboratories to engage in collaborative
                                                      Sheet Natural Rubber                               will also be accessible via WebEx.                    efforts with non-Federal entities and allow the
                                                   Comment 4: Surrogate Value for Inland                                                                       exchange of resources with private industry to
                                                      Truck Freight                                      FOR FURTHER INFORMATION CONTACT: For
                                                                                                                                                               advance technologies that can then be
                                                   Comment 5: Surrogate Value for Carbon                 questions about this public meeting                   commercialized for the benefit of the public and the
                                                      Black                                              contact: Dr. Sheryl Genco,                            U.S. economy.

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                                                                                                                                                                     Wednesday, June 14, 2017



                                                  This section of the FEDERAL REGISTER                     results.2 On April 24, 2017, the                          351.224(f) define a ‘‘ministerial error’’ as
                                                  contains documents other than rules or                   Department received a timely-filed                        an error ‘‘in addition, subtraction, or
                                                  proposed rules that are applicable to the                ministerial error allegation from the                     other arithmetic function, clerical error
                                                  public. Notices of hearings and investigations,          petitioners 3 regarding the Department’s                  resulting from inaccurate copying,
                                                  committee meetings, agency decisions and                 margin calculation for Xugong, one of                     duplication, or the like, and any similar
                                                  rulings, delegations of authority, filing of
                                                  petitions and applications and agency
                                                                                                           the mandatory respondents in the                          type of unintentional error which the
                                                  statements of organization and functions are             review.4 The Department also received                     Secretary considers ministerial.’’ We
                                                  examples of documents appearing in this                  a timely-filed ministerial error                          analyzed the petitioners’ ministerial
                                                  section.                                                 allegation from Xugong regarding the                      error comments and determined, in
                                                                                                           draft final liquidation instructions                      accordance with section 751(h) of the
                                                                                                           released with the Final Results.5                         Act and 19 CFR 351.224(e) and (f), that
                                                  DEPARTMENT OF COMMERCE                                                                                             we made a ministerial error in our
                                                                                                           Scope of the Order
                                                                                                                                                                     calculation of Xugong’s margin for the
                                                  International Trade Administration                         The merchandise covered by this                         Final Results by inadvertently using the
                                                                                                           order includes new pneumatic tires                        incorrect sales figures as a denominator
                                                  [A–570–912]                                              designed for off-the-road and off-                        to devise the indirect sales expense
                                                                                                           highway use, subject to certain                           ratio.6 We also made an error in the
                                                  Certain New Pneumatic Off-the-Road                       exceptions. The subject merchandise is                    draft liquidation instructsions. For a
                                                  Tires From the People’s Republic of                      currently classifiable under Harmonized                   detailed discussion of the Department’s
                                                  China: Amended Final Results of                          Tariff Schedule of the United States                      ministerial error determination, see
                                                  Antidumping Duty Administrative                          (HTSUS) subheadings: 4011.80.1010,                        Ministerial Error Memorandum.
                                                  Review; 2014–2015                                        4011.20.10.25, 4011.20.10.35,                               In accordance with section 751(h) of
                                                                                                           4011.20.50.30, 4011.20.50.50,                             the Act and 19 CFR 351.224(e), we are
                                                  AGENCY: Enforcement and Compliance,
                                                                                                           4011.61.00.00, 4011.62.00.00,                             correcting this error in the calculation of
                                                  International Trade Administration,                      4011.63.00.00, 4011.69.00.00,                             Xugong’s weighted-average dumping
                                                  Department of Commerce.                                  4011.70.00.10, 4011.70.00.50                              margin by using the proper denominator
                                                  SUMMARY: The Department of Commerce                      4011.80.20.20, 4011.92.00.00,                             in the calculation of indirect sales
                                                  (Department) is amending its final                       4011.93.40.00, 4011.93.80.00,                             expenses,7 and are, thus, amending the
                                                  results of the administrative review of                  4011.94.40.00, 4011.94.80.00,                             Final Results. The revised weighted-
                                                  the antidumping duty order on certain                    8716.90.5056, 8716.90.5059,                               average dumping margin for Xugong is
                                                  new pneumatic off-the-road tires (OTR                    4011.80.10.10, 4011.80.10.20,                             detailed below.
                                                  Tires) from the People’s Republic of                     4011.80.20.10, 4011.80.80.10, and                           Additionally, as a result of our
                                                  China (PRC) for the period of September                  4011.80.80.20. The HTSUS subheadings                      revision to Xugong’s margin, the
                                                  1, 2014, through August 31, 2015, to                     are provided for convenience and                          Department has also revised the
                                                  correct a ministerial error. The amended                 customs purposes only; the written                        dumping margin for companies not
                                                  final weighted-average dumping                           product description of the scope of the                   individually examined in the review. As
                                                  margins for the reviewed firms are listed                order is dispositive. For a complete                      we explained in the Final Results,8 the
                                                  below in the section entitled,                           description of the scope of the order, see                Department looks to section 735(c)(5) of
                                                  ‘‘Amended Final Results.’’                               the Issues and Decision Memorandum                        the Act, which provides instructions for
                                                  DATES: Effective June 14, 2017.                          accompanying the Final Results.                           calculating the all-others rate in an
                                                  FOR FURTHER INFORMATION CONTACT:                                                                                   investigation, for guidance when
                                                                                                           Ministerial Error
                                                  Mandy Mallott, AD/CVD Operations,                                                                                  calculating the rate for respondents not
                                                                                                             Section 751(h) of the Tariff Act of                     individually examined in an
                                                  Office III, Enforcement and Compliance,                  1930, as amended (the Act), and 19 CFR
                                                  International Trade Administration,                                                                                administrative review. Consistent with
                                                  U.S. Department of Commerce, 1401                                                                                  section 735(c)(5)(A) of the Act, the
                                                                                                             2 Xuzhou Xugong Tyres Co., Ltd. (Xugong) was
                                                  Constitution Avenue NW., Washington,                                                                               Department’s usual practice has been to
                                                                                                           the only mandatory respondent for which the
                                                  DC 20230; telephone 202–482–6430.                        Department calculated a margin. See the                   determine the dumping margin for
                                                                                                           Department’s memorandum, ‘‘2014–2015                      companies not individually examined
                                                  SUPPLEMENTARY INFORMATION:                               Administrative Review of the Antidumping Duty             by averaging the weighted-average
                                                                                                           Order on Certain New Pneumatic Off-the-Road               dumping margins for the individually
                                                  Background                                               Tires from the People’s Republic of China: Analysis
                                                                                                           of the Final Results Margin Calculation for Xuzhou        examined respondents, excluding rates
                                                     On April 13, 2017, the Department
                                                                                                           Xugong Tyres Co., Ltd.,’’ dated April 12, 2017
                                                  issued the final results of the                          (Xugong Final Analysis Memorandum).                         6 See the Department’s memorandum, ‘‘2014–
                                                  administrative review of the 2014–2015                     3 Titan Tire Corporation (Titan) and the United         2015 Administrative Review of the Antidumping
                                                  period of review.1 On April 14, 2017,                    Steel, Paper and Forestry, Rubber, Manufacturing,         Duty Order on Certain New Pneumatic Off-the-Road
                                                  the Department disclosed to interested                   Energy, Allied Industrial and Service Workers             Tires from the People’s Republic of China:
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                                                                                                           International Union, AFL–CIO, CLC (the USW)               Ministerial Error Allegation for the Final Results,’’
                                                  parties its calculations for the final                   (collectively, the petitioners).                          dated concurrently with this notice (Ministerial
                                                                                                             4 See Petitioners’ Letter, ‘‘Petitioners’ Ministerial   Error Memorandum).
                                                    1 See Certain New Pneumatic Off-the-Road Tires         Error Comments,’’ dated April 24, 2017.                     7 See Ministerial Error Memorandum; see also

                                                  from the People’s Republic of China: Final Results         5 See Xugong’s letter, ‘‘Allegation of Ministerial      memorandum, ‘‘Analysis of the Amended Final
                                                  of Antidumping Duty Administrative Review; 2014–         Error for the Final Results of Administrative Review      Results Margin Calculation for Xuzhou Xugong
                                                  2015, 82 FR 18733 (April 21, 2017) (Final Results)       of New Pneumatic Off-The-Road Tires from the              Tyres Co., Ltd.,’’ dated concurrently with this
                                                  and accompanying Issues and Decision                     People’s Republic of China,’’ dated April 21, 2017        notice (Xugong Amended Final Analysis Memo).
                                                  Memorandum.                                              (Xugong Comments).                                          8 See Final Results, 82 FR at 18734.



                                                                       Filed By: Keith Haynes, Filed Date: 6/14/17 1:41 PM, Submission Status: Approved
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                                                                                                                             Appx93
                                                                            Case: 23-2163                            Document: 25                   Page: 35             Filed: 11/06/2023
                                                                                               Barcode:3580968-01 A-570-912 REV - Admin Review 9/1/14 - 8/31/15
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                                                  that are zero, de minimis, or based                                 Ltd. (GTC) and Guizhou Tyre Import                     instruct CBP to liquidate all appropriate
                                                  entirely on facts available.9 Because                               and Export Co., Ltd. (GTCIE),12 Aeolus                 entries at 33.14 percent. For those
                                                  Xugong’s revised weighted-average                                   Tyre Co., Ltd., and Tianjin Leviathan                  entities that are subject to this review
                                                  dumping margin is above de minimis                                  International Trade Co., Ltd., are part of             that the Department has determined are
                                                  and not based entirely on facts                                     the PRC-wide entity remains                            part of the PRC-wide entity (i.e., GTC
                                                  available, consistent with the                                      unchanged.13                                           and GTCIE, Aeolus Tyre Co., Ltd., and
                                                  Department’s practice, we have assigned                                                                                    Tianjin Leviathan International Trade
                                                                                                                      Disclosure                                             Co., Ltd.), we will instruct CBP to
                                                  to companies not individually examined
                                                  the weighted-average dumping margin                                    We intend to disclose the calculations              liquidate all appropriate entries at the
                                                  calculated for Xugong as the separate                               performed regarding these amended                      PRC-wide rate of 105.31 percent.18
                                                  rate for this review. The revised                                   final results within five days of the date             Pursuant to a refinement in the
                                                  weighted-average dumping margins for                                of publication of this notice to parties in            Department’s non-market economy
                                                  those companies are detailed below.                                 this proceeding, in accordance with 19                 (NME) practice, for entries that were not
                                                                                                                      CFR 351.224(b).                                        reported in the U.S. sales databases
                                                  Amended Final Results                                                                                                      submitted by companies individually
                                                                                                                      Assessment Rates
                                                    As a result of correcting this                                                                                           examined during this review, the
                                                  ministerial error, we determine that the                               The Department shall determine, and                 Department will instruct CBP to
                                                  following weighted-average dumping                                  CBP shall assess, antidumping duties on                liquidate such entries at the PRC-wide
                                                  margins exist for the POR:                                          all appropriate entries covered by this                rate.19 In addition, if the Department
                                                                                                                      review pursuant to section 751(a)(2)(C)                determines that an exporter under
                                                                                                      Weighted-       of the Act and 19 CFR 351.212(b)(1).14                 review had no shipments of subject
                                                                                                       average        The Department intends to issue                        merchandise, any suspended entries
                                                                   Exporter                           dumping         assessment instructions directly to CBP                that entered under that exporter’s case
                                                                                                       margin
                                                                                                      (percent)       15 days after the date of publication of               number (i.e., at that exporter’s rate) will
                                                                                                                      these amended final results of                         be liquidated at the PRC-wide rate.
                                                  Xuzhou Xugong Tyres Co.,                                            administrative review.
                                                    Ltd., Armour Rubber Com-                                             For Xugong, the Department                          Cash Deposit Requirements
                                                    pany Ltd., or Xuzhou                                              calculated importer-specific assessment                   The following cash deposit
                                                    Hanbang Tyre Co., Ltd .........                          33.14    rates on the basis of the ratio of the total           requirements will be effective for all
                                                  Shiyan Desizheng Industry &                                         amount of dumping calculated for the                   shipments of the subject merchandise
                                                    Trade Co., Ltd .......................                   33.14    importer’s examined sales to the total                 entered, or withdrawn from warehouse,
                                                  Qingdao Jinhaoyang Inter-                                                                                                  for consumption on or after April 21,
                                                    national Co., Ltd ....................                   33.14
                                                                                                                      entered value of sales, in accordance
                                                  Sailun Jinyu Group Co., Ltd .....                          33.14    with 19 CFR 351.212(b)(1). For                         2017, the publication date of the Final
                                                  Weifang Jintongda Tyre Co.,                                         customers or importers of Xugong for                   Results of this administrative review, as
                                                    Ltd .........................................            33.14    which we do not have entered values,                   provided by section 751(a)(2)(C) of the
                                                  Zhongce Rubber Group Com-                                           we calculated importer- (or customer-)                 Act: (1) For the exporters listed above,
                                                    pany Limite ............................                 33.14    specific antidumping duty assessment                   the cash deposit rate will be equal to the
                                                  Weihai Zhongwei Rubber Co.,                                         amounts based on the ratio of the total                weighted-average dumping margin
                                                    Ltd .........................................            33.14    amount of dumping duties calculated                    identified in the ‘‘Amended Final
                                                  Qingdao Qihang Tyre Co.,                                            for the examined sales of subject                      Results’’ section of this notice, above;
                                                    Ltd.10 .....................................             33.14                                                           (2) for previously investigated or
                                                  Qingdao Free Trade Zone Full-
                                                                                                                      merchandise to the total sales quantity
                                                                                                                      of those same sales.15 For customers or                reviewed PRC and non-PRC exporters
                                                    World International Trading
                                                    Co., Ltd .................................               33.14    importers of Xugong for which we                       that are not under review in this
                                                  Trelleborg Wheel Systems                                            received entered-value information, we                 segment of the proceeding but that
                                                    (Xingtai) China, Co. Ltd11 .....                         33.14    have calculated importer- (or customer-                received a separate rate in a previous
                                                                                                                      ) specific antidumping duty assessment                 segment, the cash deposit rate will
                                                    The Department’s determination in                                 rates based on importer- (or customer-)                continue to be the exporter-specific rate
                                                  the Final Results that Guizhou Tyre Co.,                            specific ad valorem rates.16 Where an                  (or exporter-producer chain rate)
                                                                                                                      importer- or (customer-) specific ad                   published for the most recently
                                                     9 See, e.g., Preliminary Determination of Sales at
                                                                                                                      valorem rate is greater than de minimis,               completed segment of this proceeding in
                                                  Less Than Fair Value and Partial Affirmative                        the Department will instruct CBP to                    which the exporter was reviewed; (3) for
                                                  Determination of Critical Circumstances: Certain
                                                                                                                      collect the appropriate duties at the time             all PRC exporters of subject
                                                  Polyester Staple Fiber from the People’s Republic of                                                                       merchandise which have not been
                                                  China, 71 FR 77373, 77377 (December 26, 2006),                      of liquidation.17 For the non-examined
                                                  unchanged in Final Determination of Sales at Less                   separate rate companies, we will                       found to be entitled to a separate rate,
                                                  Than Fair Value and Partial Affirmative                                                                                    the cash deposit rate will be the PRC-
                                                  Determination of Critical Circumstances: Certain
                                                                                                                      Entry of Appearance and TWS’s November 20, 2015        wide rate of 105.31 percent; 20 and (4)
                                                  Polyester Staple Fiber from the People’s Republic of                                                                       for all non-PRC exporters of subject
                                                                                                                      Separate Rate Certification.
                                                  China, 72 FR 19690 (April 19, 2007).
                                                     10 The Department intended to grant Qingdao
                                                                                                                         12 We incorrectly referred to the this company as   merchandise which have not received
                                                                                                                      ‘‘Guizhou Tyre Import and Export Corporation,’’
                                                  Qihang Tyre Co., Ltd. a separate rate in the Final
                                                                                                                      and have corrected the name in these Amended             18 The PRC-wide rate was determined in Certain
                                                  Results. See Qihang’s December 6, 2015 Separate
                                                                                                                      Final Results.                                         New Pneumatic Off-the-Road Tires From the
                                                  Rate Certification. However, we incorrectly referred                   13 See Final Results, 82 FR at 18735.
                                                  to this company as ‘‘Qingdao Qihang Tyre Co.,’’ in                                                                         People’s Republic of China: Final Results of
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                                                                                                                         14 See Antidumping Proceeding: Calculation of
                                                  the Final Results and accompanying Issues and                                                                              Antidumping Duty Administrative Review; 2012–
                                                  Decision Memorandum. Accordingly, we have                           the Weighted-Average Dumping Margin and                2013, 80 FR 20197 (April 15, 2015).
                                                  corrected the name of this company in these                         Assessment Rate in Certain Antidumping Duty              19 See Non-Market Economy Antidumping

                                                  Amended Final Results.                                              Proceedings; Final Modification, 77 FR 8103            Proceedings: Assessment of Antidumping Duties, 76
                                                     11 In the Final Results the Department granted                   (February 14, 2012) (‘‘NME Antidumping                 FR 65694 (October 24, 2011).
                                                  Trelleborg Wheel Systems (Xingtai) China, Co. Ltd.                  Proceedings’’).                                          20 See Certain New Pneumatic Off-the-Road Tires
                                                                                                                         15 See 19 CFR 351.212(b)(1).
                                                  (TWS) a separate rate. However, we note that TWS                                                                           from the People’s Republic of China: Final Results
                                                                                                                         16 Id.
                                                  is also known as Trelleborg Wheel Systems                                                                                  of Antidumping Duty Administrative Review; 2012–
                                                  (Xingtai) Co., Ltd. See TWS’s November 12, 2105                        17 Id.                                              2013, 80 FR 20197 (April 15, 2015).

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                                                  their own rate, the cash deposit rate will               Preliminary Results of the seventh                     Potassium citrate and crude calcium
                                                  be the rate applicable to the PRC                        administrative review of the                           citrate are classifiable under
                                                  exporter(s) that supplied that non-PRC                   antidumping duty order on citric acid                  2918.15.5000 and 3824.90.9290 of the
                                                  exporter. These cash deposit                             and certain citrate salts (citric acid) from           HTSUS, respectively. Blends that
                                                  requirements, when imposed, shall                        the People’s Republic of China (PRC) on                include citric acid, sodium citrate, and
                                                  remain in effect until further notice.                   February 8, 2017. The period of review                 potassium citrate are classifiable under
                                                                                                           (POR) for the administrative review is                 3824.90.9290 of the HTSUS. Although
                                                  Notification to Importers
                                                                                                           May 1, 2015, through April 30, 2016.                   the HTSUS subheadings are provided
                                                    This notice serves as a final reminder                 The review was initiated with respect to               for convenience and customs purposes,
                                                  to importers of their responsibility                     twenty companies. After rescinding the                 the written description of the
                                                  under 19 CFR 351.402(f)(2) to file a                     review with respect to RZBC Co., Ltd.,                 merchandise is dispositive.2
                                                  certificate regarding the reimbursement                  RZBC Import & Export Co., Ltd., and
                                                  of antidumping and/or countervailing                                                                            Final Determination of No Shipments
                                                                                                           RZBC (Juxian) Co., Ltd. (collectively,
                                                  duties prior to liquidation of the                       RZBC) at the Preliminary Results,                         In the Preliminary Results, the
                                                  relevant entries during this review                      seventeen companies remain under                       Department determined Niran
                                                  period. Failure to comply with this                      review. The Department finds that                      (Thailand) Co., Ltd. (Niran) and Niran
                                                  requirement could result in the                          fifteen companies, including mandatory                 Biochemical Limited (Niran
                                                  Secretary’s presumption that                             respondent Laiwu Taihe Biochemistry                    Biochemical) had no reviewable
                                                  reimbursement of the antidumping and/                    Co., Ltd. (Taihe), are part of the PRC-                transactions during the POR.3 We
                                                  or countervailing duties occurred and                    wide entity, and two companies had no                  received no comments concerning our
                                                  the subsequent assessment of double                      shipments of subject merchandise                       finding of no shipments by Niran and
                                                  antidumping duties.                                      during the POR. We gave interested                     Niran Biochemical. In these final results
                                                                                                           parties an opportunity to comment on                   of review, we continue to find that
                                                  Administrative Protective Order
                                                                                                           the Preliminary Results. No parties                    Niran and Niran Biochemical had no
                                                    This notice also serves as a reminder                                                                         shipments of subject merchandise
                                                  to parties subject to administrative                     commented. Our final results remain
                                                                                                           unchanged from the Preliminary                         during the POR.
                                                  protective order (APO) of their
                                                  responsibility concerning the return or                  Results.                                               Separate Rates
                                                  destruction of proprietary information                   DATES: Effective June 14, 2017.                          The Department considers fifteen
                                                  disclosed under the APO in accordance                    FOR FURTHER INFORMATION CONTACT:                       companies listed in the Initiation
                                                  with 19 CFR 351.305(a)(3), which                         Krisha Hill, Office IV, Enforcement &                  Notice, including Taihe, to be part of the
                                                  continues to govern business                             Compliance, International Trade                        PRC-wide entity. Because Taihe did not
                                                  proprietary information in this segment                  Administration, Department of                          respond to the Department’s original
                                                  of the proceeding. Timely written                        Commerce, 1401 Constitution Avenue                     questionnaire and did not provide
                                                  notification of the return/destruction of                NW., Washington, DC 20230; telephone:                  separate rate information, Taihe has not
                                                  APO materials or conversion to judicial                  (202) 482–4037.                                        established its eligibility for separate
                                                  protective order is hereby requested.                    SUPPLEMENTARY INFORMATION:
                                                                                                                                                                  rate status. Furthermore, the remaining
                                                  Failure to comply with the regulations                                                                          fourteen companies failed to provide
                                                  and terms of an APO is a violation                       Background                                             separate rate applications or separate
                                                  which is subject to sanction.                              On February 8, 2017, the Department                  rate certifications necessary to establish
                                                    We are issuing and publishing these                    published the Preliminary Results.1 We                 their eligibility for a separate rate.4
                                                  amended final results of administrative                  invited interested parties to submit                   Therefore, the Department determines
                                                  review in accordance with sections                       comments on the Preliminary Results,                   that these fifteen companies, including
                                                  751(a)(1) and 777(i) of the Act.                         but we received no comments.                           Taihe, are not eligible for a separate rate
                                                    Dated: June 7, 2017.                                                                                          and are part of the PRC-wide entity.
                                                                                                           Scope of the Order                                     Accordingly, the Department
                                                  Ronald K. Lorentzen,
                                                                                                              The products covered by the order                   determined a rate consistent with the
                                                  Acting Assistant Secretary for Enforcement
                                                  and Compliance.                                          include the hydrous and anhydrous                      Department’s current practice regarding
                                                                                                           forms of citric acid, the dihydrate and                conditional review of the PRC-wide
                                                  [FR Doc. 2017–12303 Filed 6–13–17; 8:45 am]
                                                                                                           anhydrous forms of sodium citrate,                     entity.5
                                                  BILLING CODE 3510–DS–P
                                                                                                           otherwise known as citric acid sodium
                                                                                                                                                                    2 See Citric Acid and Certain Citrate Salts from
                                                                                                           salt, and the monohydrate and
                                                                                                                                                                  Canada and the People’s Republic of China:
                                                  DEPARTMENT OF COMMERCE                                   monopotassium forms of potassium                       Antidumping Duty Orders, 74 FR 25703 (May 29,
                                                                                                           citrate. Sodium citrate also includes                  2009) for a full description of the scope of the order.
                                                  International Trade Administration                       both trisodium citrate and monosodium                    3 See Preliminary Results, 82 FR at 9722.
                                                                                                                                                                    4 See Initiation of Antidumping and
                                                  [A–570–937]                                              citrate, which are also known as citric
                                                                                                                                                                  Countervailing Duty Administrative Reviews, 81 FR
                                                                                                           acid trisodium salt and citric acid                    44260, 44265 (July 7, 2016) (Initiation Notice).
                                                  Citric Acid and Certain Citrate Salts                    monosodium salt, respectively. Citric                    5 See Preliminary Results and accompanying

                                                  From the People’s Republic of China:                     acid and sodium citrate are classifiable               Decision Memorandum at 4. See also Antidumping
                                                  Final Results of Antidumping Duty                        under 2918.14.0000 and 2918.15.1000 of                 Proceedings: Announcement of Change in
                                                                                                           the Harmonized Tariff Schedule of the                  Department Practice for Respondent Selection in
                                                  Administrative Review and Final                                                                                 Antidumping Duty Proceedings and Conditional
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                                                  Determination of No Shipments; 2015–                     United States (HTSUS), respectively.                   Review of the Nonmarket Economy Entity in NME
                                                  2016                                                                                                            Antidumping Duty Proceedings, 78 FR 65963,
                                                                                                             1 See Citric Acid and Certain Citrate Salts From     65970 (November 4, 2013). Under this practice, the
                                                  AGENCY: Enforcement and Compliance,                      the People’s Republic of China: Preliminary Results    PRC-wide entity will not be under review unless a
                                                  International Trade Administration,                      of Antidumping Duty Administrative Review,             party specifically requests, or the Department self-
                                                  Department of Commerce.                                  Preliminary Determination of No Shipments, and         initiates, a review of the entity. Because no party
                                                                                                           Preliminary Partial Rescission of Antidumping Duty     requested a review of the PRC-wide entity, the
                                                  SUMMARY: The Department of Commerce                      Administrative Review; 2015–2016, 82 FR 9722           entity is not under review and the entity’s rate is
                                                  (the Department) published the                           (February 8, 2017) (Preliminary Results).              not subject to change.

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                                                                                          APPEAL,CONSOLIDATION,TERMINATED

                                          U.S. Court of International Trade
                                             LIVE Database (New York)
                                    CIT DOCKET FOR CASE #: 1:17-cv-00100-TCS


 Guizhou Tyre Co., Ltd. et al v. United States
 Assigned to: Timothy C. Stanceu
 Lead Docket:

 Jurisdiction:                                                                             Date Filed: 05/04/2017
 28USC § 1581(c) Antidumping or Countervailing Duty                                        Jury Demand: No
 Determination(s)

                                                                                           Date Terminated: 05/18/2023
 Category:
 Final Determination: 751 Periodic Review 19USC § 1516a(a)(2)                              Date Reopened:
 (B)(iii)
                                                                                           Does this action raise an issue of
                                                                                           constitutionality?: N
 Agency:
 U.S. Department of Commerce


 Product Description:
 Certain new pneumatic Off-the-road tires


 Export Country:
 China
 Plaintiff
 Guizhou Tyre Co., Ltd.                                                  represented by Ned Herman Marshak
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https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                            1/26




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8/7/23, 10:06 AM                                                U.S. Court of International Trade (LIVE Database)

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                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        ATTORNEY IN SEALED GROUP
                                                                                        Bar Status: ACTIVE

                                                                                            Andrew Thomas Schutz
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                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
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                                                                                            Brandon Michael Petelin
                                                                                            (See above for address)
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                                                                                            TERMINATED: 06/23/2017
                                                                                            Bar Status: INACTIVE
 Consolidated Plaintiff
 Aeolus Tyre Co., Ltd.                                                   represented by Ned Herman Marshak
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        ATTORNEY IN SEALED GROUP
                                                                                        Bar Status: ACTIVE

                                                                                            Andrew Thomas Schutz
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Brandon Michael Petelin
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Elaine Fang Wang
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            Bar Status: ACTIVE

                                                                                            Eve Qiwei Wang
                                                                                            Grunfeld Desiderio Lebowitz Silverman &
                                                                                            Klestadt, LLP
                                                                                            1201 New York Avenue, NW.
                                                                                            Suite 650
                                                                                            Washington, DC 20005
                                                                                            (202) 661-7781
                                                                                            Fax: (202) 783-0405
                                                                                            Email: eqwang@gdlsk.com
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Jordan Charles Kahn
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Mark E. Pardo
                                                                                            (See above for address)
                                                                                            TERMINATED: 06/23/2017
                                                                                            Bar Status: INACTIVE
 Consolidated Plaintiff

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 Qingdao Free Trade Zone Full-World                                      represented by Ned Herman Marshak
 International Trading Co., Ltd.                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        ATTORNEY IN SEALED GROUP
                                                                                        Bar Status: ACTIVE

                                                                                            Andrew Thomas Schutz
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Brandon Michael Petelin
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Elaine Fang Wang
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            Bar Status: ACTIVE

                                                                                            Jordan Charles Kahn
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Mark E. Pardo
                                                                                            (See above for address)
                                                                                            TERMINATED: 06/23/2017
                                                                                            Bar Status: INACTIVE
 Consolidated Plaintiff
 Xuzhou Xugong Tyres Co., Ltd.                                           represented by Richard Preston Ferrin
                                                                                        Faegre Drinker Biddle & Reath, LLP
                                                                                        1500 K Street, NW.
                                                                                        Washington, DC 20005
                                                                                        (202) 230-5803
                                                                                        Fax: (202) 842-8465
                                                                                        Email: richard.ferrin@faegredrinker.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        ATTORNEY IN SEALED GROUP
                                                                                        Bar Status: ACTIVE

                                                                                            Douglas John Heffner
                                                                                            Faegre Drinker Biddle & Reath, LLP
                                                                                            1500 K Street, NW.
                                                                                            Suite 1100
                                                                                            Washington, DC 20005-1209
                                                                                            (202) 230-5802
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                            5/26




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                                                                                            Fax: (202) 842-8465
                                                                                            Email: douglas.heffner@faegredrinker.com
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE
 Consolidated Plaintiff
 Trelleborg Wheel Systems (Xingtai) Co.,                                 represented by Richard Preston Ferrin
 Ltd.                                                                                   (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        ATTORNEY IN SEALED GROUP
                                                                                        Bar Status: ACTIVE

                                                                                            Douglas John Heffner
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE
 Consolidated Plaintiff
 Qingdao Qihang Tyre Co., Ltd.                                           represented by Ned Herman Marshak
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        ATTORNEY IN SEALED GROUP
                                                                                        Bar Status: ACTIVE

                                                                                            Andrew Thomas Schutz
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Brandon Michael Petelin
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Elaine Fang Wang
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            Bar Status: ACTIVE

                                                                                            Eve Qiwei Wang
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Jordan Charles Kahn
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                             6/26




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                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Mark E. Pardo
                                                                                            (See above for address)
                                                                                            TERMINATED: 06/23/2017
                                                                                            Bar Status: INACTIVE
 Consolidated Plaintiff
 Weihai Zhongwei Rubber Co., Ltd.                                        represented by Robert Kevin Williams
                                                                                        Clark Hill PLC
                                                                                        130 E. Randolph Street
                                                                                        Suite 3900
                                                                                        Chicago, IL 60601
                                                                                        (312) 985-5907
                                                                                        Fax: (312) 985-5999
                                                                                        Email: kwilliams@clarkhill.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Bar Status: ACTIVE

                                                                                            Lara A. Austrins
                                                                                            Clark Hill PLC
                                                                                            130 E. Randolph Street
                                                                                            Suite 3900
                                                                                            Chicago, IL 60601
                                                                                            (312) 985-5571
                                                                                            Fax: (312) 985-5999
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE
 Consolidated Plaintiff
 Titan Tire Corporation                                                  represented by William A. Fennell
 TERMINATED: 06/26/2017                                                                 Stewart and Stewart
                                                                                        2100 M Street, NW.
                                                                                        Suite 200
                                                                                        Washington, DC 20037
                                                                                        (202) 466-1246
                                                                                        Fax: (202) 466-1286
                                                                                        Email: wfennell@stewartlaw.com
                                                                                        TERMINATED: 09/29/2017
                                                                                        LEAD ATTORNEY
                                                                                        Bar Status: ACTIVE

                                                                                            Elizabeth Jackson Drake
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1254
                                                                                            Fax: (202) 466-1286
                                                                                            Email: general@stewartlaw.com
                                                                                            TERMINATED: 09/29/2017
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                      7/26




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                                                                                            Bar Status: ACTIVE

                                                                                            Lane Steven Hurewitz
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1250
                                                                                            Fax: (202) 466-1286
                                                                                            Email: lhurewitz@stewartlaw.com
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Nicholas Joel Birch
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1280
                                                                                            Fax: (202) 466-1286
                                                                                            Email: nbirch@stewartlaw.com
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Terence Patrick Stewart
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1241
                                                                                            Fax: (202) 466-1286
                                                                                            Email: tstewart@stewartlaw.com
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE
 Consolidated Plaintiff
 United Steel, Paper and Forestry, Rubber,                               represented by William A. Fennell
 Manufacturing, Energy, Allied Industrial                                               (See above for address)
 and Service Workers International                                                      TERMINATED: 09/29/2017
 Union, AFL-CIO-CLC                                                                     LEAD ATTORNEY
 TERMINATED: 06/26/2017                                                                 Bar Status: ACTIVE

                                                                                            Elizabeth Jackson Drake
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Lane Steven Hurewitz
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Nicholas Joel Birch
                                                                                            (See above for address)
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                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Terence Patrick Stewart
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE
 Defendant
 United States                                                           represented by John J. Todor
                                                                                        U.S. Department of Justice
                                                                                        Commercial Litigation Branch - Civil
                                                                                        Division
                                                                                        P.O. Box 480
                                                                                        Ben Franklin Station
                                                                                        Washington, DC 20044
                                                                                        (202) 616-2382
                                                                                        Fax: (202) 514-8640
                                                                                        Email: john.todor@usdoj.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        ATTORNEY IN SEALED GROUP
                                                                                        Bar Status: ACTIVE

                                                                                            Franklin Elgin White , Jr.
                                                                                            U.S. Department of Justice
                                                                                            Commercial Litigation Branch - Civil
                                                                                            Division
                                                                                            P.O. Box 480
                                                                                            Ben Franklin Station
                                                                                            Washington, DC 20044
                                                                                            (202) 307-6462
                                                                                            Fax: (202) 514-7969
                                                                                            Email: franklin.white@usdoj.gov
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            Bar Status: ACTIVE

                                                                                            Heather Noel Doherty
                                                                                            Of Counsel
                                                                                            U.S. Department of Commerce
                                                                                            Office of Chief Counsel for Trade
                                                                                            Enforcement and Compliance
                                                                                            1401 Constitution Avenue, NW.
                                                                                            Room 3627
                                                                                            Washington, DC 20230-0001
                                                                                            (202) 482-4378
                                                                                            Fax: (202) 501-8045
                                                                                            TERMINATED: 09/05/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Paul Kent Keith
                                                                                            Of Counsel
                                                                                            U.S. Department of Commerce
                                                                                            Office of Chief Counsel for Trade
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                             9/26




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                                                                                            Enforcement and Compliance
                                                                                            1401 Constitution Avenue, NW.
                                                                                            Suite 3623
                                                                                            Washington, DC 20230
                                                                                            (202) 482-1767
                                                                                            Fax: (202) 482-4912
                                                                                            Email: paul.keith@trade.gov
                                                                                            ATTORNEY TO BE NOTICED
                                                                                            ATTORNEY IN SEALED GROUP
                                                                                            Bar Status: ACTIVE

                                                                                            Zachary Scott Simmons
                                                                                            Of Counsel
                                                                                            U.S. Department of Commerce
                                                                                            Office of Chief Counsel for Trade
                                                                                            Enforcement & Compliance
                                                                                            1401 Constitution Avenue, NW.
                                                                                            Washington, DC 20230
                                                                                            (202) 482-4044
                                                                                            Fax: (202) 501-8045
                                                                                            TERMINATED: 10/03/2018
                                                                                            Bar Status: ACTIVE
 Defendant-Intervenor
 Titan Tire Corporation                                                  represented by William A. Fennell
 TERMINATED: 09/29/2017                                                                 (See above for address)
                                                                                        TERMINATED: 09/29/2017
                                                                                        LEAD ATTORNEY
                                                                                        Bar Status: ACTIVE

                                                                                            Elizabeth Jackson Drake
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Geert M. De Prest
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1245
                                                                                            Fax: (202) 466-1286
                                                                                            Email: gdeprest@stewartlaw.com
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Jennifer Michele Smith
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1278
                                                                                            Fax: (202) 466-1286
                                                                                            Email: jsmith@stewartlaw.com
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                          10/26




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                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Lane Steven Hurewitz
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Leah N. Scarpelli
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1275
                                                                                            Fax: (202) 466-1286
                                                                                            Email: leah.scarpelli@afslaw.com
                                                                                            TERMINATED: 08/23/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Nicholas Joel Birch
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Patrick John McDonough
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1256
                                                                                            Fax: (202) 466-1286
                                                                                            Email: pmcdonough@stewartlaw.com
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Philip Andrew Butler
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1240
                                                                                            Fax: (202) 466-1286
                                                                                            Email: pbutler@stewartlaw.com
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: INACTIVE

                                                                                            Sahar Jehan Hafeez
                                                                                            Stewart and Stewart
                                                                                            2100 M Street, NW.
                                                                                            Suite 200
                                                                                            Washington, DC 20037
                                                                                            (202) 466-1290
                                                                                            Fax: (202) 466-1286
                                                                                            TERMINATED: 09/29/2017
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                         11/26




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                                                                                            Bar Status: ACTIVE

                                                                                            Terence Patrick Stewart
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE
 Defendant-Intervenor
 United Steel, Paper and Forestry, Rubber,                               represented by William A. Fennell
 Manufacturing, Energy, Allied Industrial                                               (See above for address)
 and Service Workers International                                                      TERMINATED: 09/29/2017
 Union, AFL-CIO, CLC                                                                    LEAD ATTORNEY
 TERMINATED: 09/29/2017                                                                 Bar Status: ACTIVE

                                                                                            Elizabeth Jackson Drake
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Geert M. De Prest
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Jennifer Michele Smith
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Lane Steven Hurewitz
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Leah N. Scarpelli
                                                                                            (See above for address)
                                                                                            TERMINATED: 08/23/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Nicholas Joel Birch
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Patrick John McDonough
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Philip Andrew Butler
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: INACTIVE

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                        Case: 23-2163                 Document: 25               Page: 49            Filed: 11/06/2023
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                                                                                            Sahar Jehan Hafeez
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE

                                                                                            Terence Patrick Stewart
                                                                                            (See above for address)
                                                                                            TERMINATED: 09/29/2017
                                                                                            Bar Status: ACTIVE


  Date Filed              #     Docket Text
  05/04/2017               1 Summons filed by Guizhou Tyre. Filed by Elaine Fang Wang of Grunfeld Desiderio
                             Lebowitz Silverman & Klestadt, LLP on behalf of Guizhou Tyre Import and Export Co.,
                             Ltd., Guizhou Tyre Co., Ltd.. (Wang, Elaine) (Entered: 05/04/2017)
  05/04/2017               2 Form 5 Information Statement for Guizhou Tyre. Filed by Elaine Fang Wang of Grunfeld
                             Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Guizhou Tyre Co., Ltd.,
                             Guizhou Tyre Import and Export Co., Ltd.. (Wang, Elaine) (Entered: 05/04/2017)
  05/04/2017               3 Form 13 Corporate Disclosure Statement for Guizhou Tyre. Filed by Elaine Fang Wang of
                             Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Guizhou Tyre Co.,
                             Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Wang, Elaine) (Entered: 05/04/2017)
  05/04/2017               4 Form 11 Notice of Appearance for Guizhou Tyre. Filed by Elaine Fang Wang of Grunfeld
                             Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Guizhou Tyre Co., Ltd.,
                             Guizhou Tyre Import and Export Co., Ltd..(Wang, Elaine) (Entered: 05/04/2017)
  05/04/2017               5 Form 17 Business Proprietary Information Certification filed on behalf of Mark E. Pardo,
                             Andrew Schutz, Brandon Petelin, Elaine Wang and Dharmendra, Choudary. Filed by
                             Elaine Fang Wang of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf
                             of Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Wang, Elaine)
                             (Entered: 05/04/2017)
  05/04/2017               6 Complaint by Guizhou Tyre against United States. Administrative Record due by
                             6/19/2017. Filed by Elaine Fang Wang of Grunfeld Desiderio Lebowitz Silverman &
                             Klestadt, LLP on behalf of Guizhou Tyre Import and Export Co., Ltd., Guizhou Tyre Co.,
                             Ltd..(Wang, Elaine) (Entered: 05/04/2017)
  05/04/2017               7 Certificate of service for Summons, Complaint, and Other Initiation Papers. Filed by
                             Brandon Michael Petelin of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on
                             behalf of Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Petelin,
                             Brandon) (Entered: 05/04/2017)
  05/08/2017               8 Summons served by Clerk's Office upon Plaintiff and appropriate Government
                             Agency/Agencies . (Benbow, Troy) (Entered: 05/08/2017)
  05/09/2017               9 Consent Application/Motion for preliminary injunction . Responses due by 5/30/2017.
                             Filed by Elaine Fang Wang of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP
                             on behalf of Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd..(Wang,
                             Elaine) (Entered: 05/09/2017)
  05/12/2017             10 Order entered on 5/12/2017 granting Consent Motion for preliminary injunction (Related
                            Doc # 9 ). (Goell, Geoffrey) (Entered: 05/12/2017)
  05/12/2017              11 Form 11 Notice of Appearance . Filed by John J. Todor of U.S. Department of Justice on
                             behalf of United States.(Todor, John) (Entered: 05/12/2017)
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                   13/26




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  05/18/2017             12 Form 11 Notice of Appearance . Filed by Zachary Scott Simmons of U.S. Department of
                            Commerce on behalf of United States.(Simmons, Zachary) (Entered: 05/18/2017)
  05/26/2017             13 Consent Motion to Intervene as defendant intervenor and proposed Order thereto.
                            Responses due by 6/14/2017. Filed by William A. Fennell of Stewart and Stewart on
                            behalf of Titan Tire Corporation, United Steel, Paper and Forestry, Rubber,
                            Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                            CIO, CLC.(Fennell, William) (Entered: 05/26/2017)
  05/26/2017             14 Form 13 Corporate Disclosure Statement . Filed by William A. Fennell of Stewart and
                            Stewart on behalf of Titan Tire Corporation. (Fennell, William) (Entered: 05/26/2017)
  05/26/2017             15 Form 13 Corporate Disclosure Statement . Filed by William A. Fennell of Stewart and
                            Stewart on behalf of United Steel, Paper and Forestry, Rubber, Manufacturing, Energy,
                            Allied Industrial and Service Workers International Union, AFL-CIO, CLC. (Fennell,
                            William) (Entered: 05/26/2017)
  05/26/2017             16 Form 11 Notice of Appearance (s) for William A. Fennell, lead attorney; Terence P.
                            Stewart, Geert De Prest, Elizabeth J. Drake, Philip A. Butler, Jennifer M. Smith, Lane S.
                            Hurewitz, Patrick J. McDonough, Nicholas J. Birch, Sahar J. Hafeez, Leah N. Scarpelli,
                            attorneys. Filed by William A. Fennell of Stewart and Stewart on behalf of Titan Tire
                            Corporation, United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied
                            Industrial and Service Workers International Union, AFL-CIO, CLC.(Fennell, William)
                            (Entered: 05/26/2017)
  05/26/2017             17 Form 17 Business Proprietary Information Certification filed on behalf of William A.
                            Fennell, Terence P. Stewart, Geert De Prest, Elizabeth J. Drake, Philip A. Butler, Jennifer
                            M. Smith, Lane S. Hurewitz, Patrick J. McDonough, Nicholas J. Birch, Sahar J. Hafeez,
                            Leah N. Scarpelli, attorneys. Filed by William A. Fennell of Stewart and Stewart on
                            behalf of Titan Tire Corporation, United Steel, Paper and Forestry, Rubber,
                            Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                            CIO, CLC. (Fennell, William) (Entered: 05/26/2017)
  05/26/2017             18 Form 17 Business Proprietary Information Certification filed on behalf of David De
                            Prest, trade consultant. Filed by William A. Fennell of Stewart and Stewart on behalf of
                            Titan Tire Corporation, United Steel, Paper and Forestry, Rubber, Manufacturing, Energy,
                            Allied Industrial and Service Workers International Union, AFL-CIO, CLC. (Fennell,
                            William) (Entered: 05/26/2017)
  05/26/2017             19 Certificate of service for consent motion to intervene and proposed Order thereto, Form
                            13s, Form 11s and Form 17s (related document(s) 13 , 18 , 15 , 16 , 14 , 17 ). Filed by
                            William A. Fennell of Stewart and Stewart on behalf of Titan Tire Corporation, United
                            Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service
                            Workers International Union, AFL-CIO, CLC. (Fennell, William) (Entered: 05/26/2017)
  05/30/2017             20 Order entered on 5/30/2017 Granting Titan Tire Corporation and the United Steel, Paper
                            and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service Workers
                            International Union, AFL-CIO, CLC Consent Motion to intervene as Defendant-
                            Intervenors (Related Doc # 13 ).. (Benbow, Troy) (Entered: 05/30/2017)
  06/05/2017             21 Form 17 Business Proprietary Information Certification filed on behalf of Rui Fan, trade
                            consultant. Filed by William A. Fennell of Stewart and Stewart on behalf of Titan Tire
                            Corporation, United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied
                            Industrial and Service Workers International Union, AFL-CIO, CLC. (Fennell, William)
                            (Entered: 06/05/2017)
  06/05/2017             22 Consent Motion to consolidate case(s) 17-00100, 17-00102, 17-00103, 17-00104, 17-
                            00111, 17-00113, 17-00123, 17-00126 with lead case 17-00100 . Responses due by
https://ecf.cit.uscourts.gov/cgi-bin/DktRpt.pl?118841195056282-L_1_0-1                                                   14/26




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                                6/26/2017. Filed by Franklin E. White of U.S. Department of Justice on behalf of United
                                States.(White, Franklin) (Entered: 06/05/2017)
  06/15/2017             23 Consent Motion for leave to retroactively validate amended final results. Responses due
                            by 7/5/2017. Filed by Franklin E. White of U.S. Department of Justice on behalf of
                            United States.(White, Franklin) (Entered: 06/15/2017)
  06/16/2017             24 Order entered on 6/16/2017 granting Consent Motion to consolidate Court Nos. 17-
                            00102, 17-00103, 17-00104, 17-00111, 17-00113, 17-00123 & 17-00126 under this lead
                            case (Related Doc # 22 ). (Goell, Geoffrey) (Entered: 06/16/2017)
  06/19/2017             25 Order entered on 6/19/2017 granting Consent Motion for leave to retroactively validate
                            amended final results (Related Doc # 23 ). (Goell, Geoffrey) (Entered: 06/19/2017)
  06/19/2017             26 Administrative Record Index for filed . Filed by Zachary Scott Simmons of U.S.
                            Department of Commerce on behalf of United States. (Simmons, Zachary) (Entered:
                            06/19/2017)
  06/23/2017             27 Form 11 Notice of Appearance of Ned H. Marshak. Filed by Andrew Thomas Schutz of
                            Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Aeolus Tyre Co.,
                            Ltd., Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd., Qingdao Free
                            Trade Zone Full-World International Trading Co., Ltd., Qingdao Qihang Tyre Co., Ltd..
                            (Schutz, Andrew) (Entered: 06/23/2017)
  06/23/2017             28 Form 18 Notice of Termination of Access to Business Proprietary Information filed on
                            behalf of Mark E. Pardo. Filed by Ned Herman Marshak of Grunfeld Desiderio Lebowitz
                            Silverman & Klestadt, LLP on behalf of Aeolus Tyre Co., Ltd., Guizhou Tyre Co., Ltd.,
                            Guizhou Tyre Import and Export Co., Ltd., Qingdao Free Trade Zone Full-World
                            International Trading Co., Ltd., Qingdao Qihang Tyre Co., Ltd.. (Attachments: # 1
                            Exhibit)(Marshak, Ned) (Entered: 06/23/2017)
  06/23/2017             29 Consent Motion to sever Court No. 17-00126 from the lead case, Consolidated Court No.
                            17-00100. Responses due by 7/12/2017. Filed by William A. Fennell of Stewart and
                            Stewart on behalf of Titan Tire Corporation, United Steel, Paper and Forestry, Rubber,
                            Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                            CIO, CLC, United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied
                            Industrial and Service Workers International Union, AFL-CIO-CLC.(Fennell, William)
                            (Entered: 06/23/2017)
  06/26/2017             30 Order entered on 6/26/2017 granting Motion to sever Court No. 17-00126 from this lead
                            case (Related Doc # 29 ). (Goell, Geoffrey) (Entered: 06/26/2017)
  06/28/2017             31 Form 11 Notice of Appearance . Filed by Heather Noel Doherty of U.S. Department of
                            Commerce on behalf of United States.(Doherty, Heather) (Entered: 06/28/2017)
  06/28/2017             32 Order entered on 6/28/2017, assigning action to Judge Timothy C. Stanceu.(Love,
                            Cynthia) (Entered: 06/28/2017)
  07/11/2017             33 Form 18 Notice of Termination of Access to Business Proprietary Information filed on
                            behalf of Sahar J. Hafeez, attorney. Filed by Elizabeth Jackson Drake of Stewart and
                            Stewart on behalf of Titan Tire Corporation, United Steel, Paper and Forestry, Rubber,
                            Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                            CIO, CLC, United States, United Steel, Paper and Forestry, Rubber, Manufacturing,
                            Energy, Allied Industrial and Service Workers International Union, AFL-CIO-CLC
                            (Drake, Elizabeth) (Entered: 07/11/2017)
  07/12/2017             34 Letter - Notice of Withdrawal of Attorney of Record, Sahar J. Hafeez. Filed by Elizabeth
                            Jackson Drake of Stewart and Stewart on behalf of Titan Tire Corporation, United Steel,
                            Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service
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                                Workers International Union, AFL-CIO, CLC, United Steel, Paper and Forestry, Rubber,
                                Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                                CIO-CLC (Drake, Elizabeth) (Entered: 07/12/2017)
  07/13/2017             35 Rule 16 notice . Parties are directed to file with the Clerk a Joint Status report and
                            proposed briefing schedule by August 17, 2017.... (Love, Cynthia) (Entered: 07/13/2017)
  08/17/2017             36 Joint status report and proposed briefing schedulein Consolidated Case No 17-100. Filed
                            by Brandon Michael Petelin of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP
                            on behalf of Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Petelin,
                            Brandon) (Entered: 08/17/2017)
  08/18/2017             37 Form 11 Notice of Appearance for Jordan C. Kahn. Filed by Jordan Charles Kahn of
                            Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Aeolus Tyre Co.,
                            Ltd., Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd., Qingdao Free
                            Trade Zone Full-World International Trading Co., Ltd., Qingdao Qihang Tyre Co., Ltd..
                            (Kahn, Jordan) (Entered: 08/18/2017)
  08/18/2017             38 Form 17 Business Proprietary Information Certification filed on behalf of Jordan C.
                            Kahn. Filed by Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman &
                            Klestadt, LLP on behalf of Aeolus Tyre Co., Ltd., Guizhou Tyre Co., Ltd., Guizhou Tyre
                            Import and Export Co., Ltd., Qingdao Free Trade Zone Full-World International Trading
                            Co., Ltd., Qingdao Qihang Tyre Co., Ltd.. (Kahn, Jordan) (Entered: 08/18/2017)
  08/21/2017             39 Scheduling Order entered on 8/21/2017: ORDERED that the briefing of this action shall
                            proceed in accordance with the schedule set forth below: 1. Plaintiffs USCIT R. 56.2
                            Motions and Briefs December 15, 2017. 2. Defendant and Consolidated Defendant-
                            Intervenors Responses April 16, 2018 3. Plaintiffs Replies May 31, 2018 4. Requests for
                            Oral Argument June 21, 2018 Further, it is ORDERED that plaintiffs opening briefs will
                            be subject to a limit of 14,000 words, defendant and defendant-intervenors briefs will be
                            subject to a limit of 28,000 words, and plaintiffs reply briefs will be subject to a limit of
                            7,000 words. (Love, Cynthia) (Entered: 08/21/2017)
  08/23/2017             40 Notice of Letter of Withdrawal of Defendant-Intervenors. Filed by William A. Fennell of
                            Stewart and Stewart on behalf of Titan Tire Corporation, United Steel, Paper and
                            Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service Workers
                            International Union, AFL-CIO, CLC. (Fennell, William) (Entered: 08/23/2017)
  08/23/2017             41 Form 18 Notice of Termination of Access to Business Proprietary Information filed on
                            behalf of Titan and the USW. Filed by William A. Fennell of Stewart and Stewart on
                            behalf of Titan Tire Corporation, United Steel, Paper and Forestry, Rubber,
                            Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                            CIO, CLC. (Fennell, William) (Entered: 08/23/2017)
  08/28/2017             42 Consent Motion to withdraw as Defendant-Intervenors. Responses due by 9/18/2017.
                            Filed by William A. Fennell of Stewart and Stewart on behalf of Titan Tire Corporation,
                            United Steel, Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and
                            Service Workers International Union, AFL-CIO, CLC.(Fennell, William) (Entered:
                            08/28/2017)
  09/29/2017             43 Order entered on 9/29/2017 granting Motion to withdraw as defendant-intervenors.
                            ORDERED that Titan and the USW are hereby withdrawn as defendant-intervenors in
                            Guizhou Tyre Co., Ltd. et al v. United States, Ct. No. 17-00100, and the cases
                            consolidated under that lead case, Aeolus Tyre Co., Ltd., v. United States, Ct. No. 17-
                            00102; Qingdao Free Trade Zone Full-World International Trading Co., Ltd. v. United
                            States, Ct. No. 17- 00103; Xuzhou Xugong Tyres Co., Ltd. v. United States, Ct. No. 17-
                            00104; Trelleborg Wheel Systems (Xingtai) Co. Ltd. v. United States, Ct. No. 17-00111;

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                                Qingdao Qihang Tyre Co., Ltd. v. United States, Ct. No. 17-00113; and Weihai Zhongwei
                                Rubber Co., Ltd. v. United States, Ct. No. 17-00123. (Related Doc # 42 ). (Love,
                                Cynthia) (Entered: 09/29/2017)
  11/22/2017             44 Consent Motion for extension of time until 1/16/2018 to file Rule 56.2 Motions and to
                            Amend Scheduling Order. Responses due by 12/11/2017. Filed by Jordan Charles Kahn
                            of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Aeolus Tyre
                            Co., Ltd., Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd., Qingdao
                            Free Trade Zone Full-World International Trading Co., Ltd., Qingdao Qihang Tyre Co.,
                            Ltd.. (Attachments: # 1 Proposed Order)(Kahn, Jordan) (Entered: 11/22/2017)
  11/27/2017             45 Order entered on 11/27/2017 granting Motion for extension of time (Related Doc # 44 ).
                            Plaintiffs USCIT R. 56.2 Motions and Briefs due by 1/16/2018. Defendant's Response to
                            Dispositive Motion due by 5/18/2018. Plaintiffs' Replies due by 7/2/2018. Any motion for
                            oral argument due by 7/23/2018. (Love, Cynthia) (Entered: 11/27/2017)
  01/02/2018             46 Consent Motion for extension of time until 1/30/2018 to file brief and amend scheduling
                            order (related document(s) 45 ). Responses due by 1/22/2018. Filed by Jordan Charles
                            Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP, Richard Preston Ferrin
                            of Drinker Biddle & Reath, LLP on behalf of Aeolus Tyre Co., Ltd., Guizhou Tyre Co.,
                            Ltd., Guizhou Tyre Import and Export Co., Ltd., Qingdao Free Trade Zone Full-World
                            International Trading Co., Ltd., Qingdao Qihang Tyre Co., Ltd., Xuzhou Xugong Tyres
                            Co., Ltd..(Ferrin, Richard) (Entered: 01/02/2018)
  01/08/2018             47 Order entered on 1/8/2018, granting consent Motion for extension of time to file brief.
                            ORDERED that the Scheduling Order entered on November 27, 2017, is hereby amended
                            as follows: Plaintiffs' and Consolidated Plaintiffs' R. 56.2 Motions and Briefs due on or
                            before January 30, 2018. Defendant's Response due on or before June 1, 2018. Plaintiffs'
                            and Consolidated Plaintiffs' Replies due on or before July 16, 2018. Request for Oral
                            Argument due on or before August 6, 2018. (Related Doc # 46 ). (Taronji, Steve)
                            (Entered: 01/08/2018)
  01/30/2018             48 Confidential Motion for judgment on agency record 56.2 and accompanying brief.
                            Response to 56.2 Motion due by 6/1/2018. Filed by Richard Preston Ferrin of Drinker
                            Biddle & Reath, LLP on behalf of Xuzhou Xugong Tyres Co., Ltd..(Ferrin, Richard)
                            Modified on 1/30/2018 (Love, Cynthia). (Entered: 01/30/2018)
  01/30/2018             49 Public Motion for judgment on agency record 56.2 and accompanying brief. Response to
                            56.2 Motion due by 6/1/2018. Filed by Richard Preston Ferrin of Drinker Biddle &
                            Reath, LLP on behalf of Xuzhou Xugong Tyres Co., Ltd..(Ferrin, Richard) Modified on
                            1/30/2018 (Love, Cynthia). (Entered: 01/30/2018)
  01/30/2018             50 Motion for judgment on agency record 56.2 and accompanying brief. Response to 56.2
                            Motion due by 6/1/2018. Filed by Richard Preston Ferrin of Drinker Biddle & Reath,
                            LLP on behalf of Trelleborg Wheel Systems (Xingtai) Co., Ltd..(Ferrin, Richard)
                            Modified on 1/30/2018 (Love, Cynthia). (Entered: 01/30/2018)
  01/30/2018             51 Confidential Motion for judgment on agency record 56.2 and accompanying brief of
                            Plaintiff Guizhou Tyre. Response to 56.2 Motion due by 6/1/2018. Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Attachments: # 1
                            Proposed Order)(Kahn, Jordan) Modified on 1/31/2018 (Love, Cynthia). (Entered:
                            01/30/2018)
  01/30/2018             52 Public Motion for judgment on agency record 56.2 and accompanying brief of Plaintiff
                            Guizhou Tyre. Response to 56.2 Motion due by 6/1/2018. Filed by Jordan Charles Kahn
                            of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Guizhou Tyre

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                                Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Attachments: # 1 Proposed Order)
                                (Kahn, Jordan) Modified on 1/31/2018 (Love, Cynthia). (Entered: 01/30/2018)
  01/30/2018             53 Motion for judgment on agency record 56.2 and accompanying brief of consolidated
                            Plaintiff Qihang. Response to 56.2 Motion due by 6/1/2018. Filed by Jordan Charles
                            Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Qingdao
                            Qihang Tyre Co., Ltd.. (Attachments: # 1 Proposed Order)(Kahn, Jordan) Modified on
                            1/31/2018 (Love, Cynthia). (Entered: 01/30/2018)
  01/30/2018             54 Motion for judgment on agency record 56.2 and accompanying brief of consolidated
                            Plaintiff Full World. Response to 56.2 Motion due by 6/1/2018. Filed by Jordan Charles
                            Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Qingdao
                            Free Trade Zone Full-World International Trading Co., Ltd.. (Attachments: # 1 Proposed
                            Order)(Kahn, Jordan) Modified on 1/31/2018 (Love, Cynthia). (Entered: 01/30/2018)
  01/30/2018             55 Confidential Motion for judgment on agency record 56.2 and accompanying brief of
                            consolidated Plaintiff Aeolus. Response to 56.2 Motion due by 6/1/2018. Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Aeolus Tyre Co., Ltd.. (Attachments: # 1 Proposed Order)(Kahn, Jordan) Modified on
                            1/31/2018 (Love, Cynthia). (Entered: 01/30/2018)
  01/30/2018             56 Public Motion for judgment on agency record 56.2 and accompanying brief of
                            consolidated Plaintiff Aeolus. Response to 56.2 Motion due by 6/1/2018. Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Aeolus Tyre Co., Ltd.. (Attachments: # 1 Proposed Order)(Kahn, Jordan) Modified on
                            1/31/2018 (Love, Cynthia). (Entered: 01/30/2018)
  02/01/2018             57 Form 11 Notice of Appearance . Filed by Paul Kent Keith of U.S. Department of
                            Commerce on behalf of United States.(Keith, Paul) (Entered: 02/01/2018)
  06/01/2018             58 Response to motion For Judgment On The Agency Record (related document(s) 55 , 53 ,
                            48 , 51 , 54 , 49 , 52 , 50 , 56 ). Reply due by 7/16/2018. Filed by John J. Todor of U.S.
                            Department of Justice on behalf of United States.(Todor, John) Modified on 6/4/2018
                            (Demb, Rebecca). (Entered: 06/01/2018)
  07/16/2018             59 Reply brief (related document(s) 58 ). Filed by Richard Preston Ferrin of Drinker Biddle
                            & Reath, LLP on behalf of Xuzhou Xugong Tyres Co., Ltd..(Ferrin, Richard) (Entered:
                            07/16/2018)
  07/16/2018             60 Reply Brief of Consolidated Plaintiff Aeolus (related document(s) 58 ). Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Aeolus Tyre Co., Ltd..(Kahn, Jordan) (Entered: 07/16/2018)
  07/16/2018             61 Reply of Plaintiff Guizhou Tyre (related document(s) 58 ). Filed by Jordan Charles Kahn
                            of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Guizhou Tyre
                            Co., Ltd., Guizhou Tyre Import and Export Co., Ltd..(Kahn, Jordan) (Entered:
                            07/16/2018)
  07/30/2018             62 Confidential Joint Appendix Tabs 1-11 (related document(s) 55 , 54 , 60 , 61 , 58 , 53 , 48
                            , 51 , 50 , 59 ). Filed by Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman
                            & Klestadt, LLP on behalf of Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export
                            Co., Ltd.. (Attachments: # 1 Tab 12, # 2 Tab 13, # 3 Tabs 14-15, # 4 Tabs 16-26)(Kahn,
                            Jordan) (Entered: 07/30/2018)
  07/30/2018             63 Joint Appendix (PUBLIC VERSION) (related document(s) 62 , 53 , 54 , 49 , 52 , 60 , 50 ,
                            56 , 61 , 58 , 59 ). Filed by Jordan Charles Kahn of Grunfeld Desiderio Lebowitz
                            Silverman & Klestadt, LLP on behalf of Guizhou Tyre Co., Ltd., Guizhou Tyre Import
                            and Export Co., Ltd.. (Kahn, Jordan) (Entered: 07/30/2018)
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  08/06/2018             64 Unopposed Motion for oral argument on Rule 56.2 Motion for Judgment on the Agency
                            Record (related document(s) 55 , 56 ). Responses due by 8/27/2018. Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Aeolus Tyre Co., Ltd..(Kahn, Jordan) (Entered: 08/06/2018)
  08/16/2018             65 Order entered on 8/16/2018 granting Motion for oral argument (Related Doc # 64 ). An
                            oral argument is scheduled for 12/6/2018 11:00 AM in Courtroom No. 3 before Timothy
                            C. Stanceu. (Love, Cynthia) (Entered: 08/16/2018)
  10/04/2018             66 Form 18 Notice of Termination of Access to Business Proprietary Information filed on
                            behalf of Zachary Simmons. Filed by Jessica Rose DiPietro of U.S. Department of
                            Commerce on behalf of United States (DiPietro, Jessica) (Entered: 10/04/2018)
  12/06/2018             67 Oral argument held on 12/6/2018 at 11:00 am in courtroom 3 . (Demb, Rebecca)
                            (Entered: 12/06/2018)
  05/24/2019             68 Order entered on 5/24/2019, Slip opinion: 19-64. ORDERED that Commerce shall
                            submit a new determination upon remand (Remand Redetermination) in which it
                            reconsiders its decisions not to assign separate rates to GTC and Aeolus and redetermines
                            the dumping margins for those respondents as required by its reconsideration of those
                            decisions; it is further ORDERED that Commerce, in the Remand Redetermination, shall
                            recalculate export price and constructed export price for Xugong without making
                            deductions for Chinese value added tax; it is further ORDERED that Commerce will
                            redetermine the weighted average dumping margin for Xugong and also the rates to be
                            assigned to all other qualifying separate rate respondents that are plaintiffs in this action;
                            it is further ORDERED that Commerce will submit its Remand Redetermination within
                            90 days of the date of this Opinion and Order; it is further ORDERED that comments of
                            plaintiffs on the Remand Redetermination must be filed with the court no later than 30
                            days after the filing of the Remand Redetermination; and it is further ORDERED that the
                            response of defendant to the aforementioned comments must befiled no later than 15 days
                            from the date on which the last comment is filed.(related document(s) 55 , 53 , 48 , 51 ,
                            54 , 49 , 52 , 50 , 56 ) (Attachments: # 1 Cited Webpage 1, # 2 Cited Webpage 2).(Love,
                            Cynthia) (Entered: 05/24/2019)
  08/15/2019             69 Consent Motion for extension of time until 9/23/2019 to For The Department Of
                            Commerce To File Its Remand Redetermination (related document(s) 68 ). Responses due
                            by 9/5/2019. Filed by John J. Todor of U.S. Department of Justice on behalf of United
                            States.(Todor, John) (Entered: 08/15/2019)
  08/16/2019             70 Order entered on 8/16/2019 granting Motion for extension of time. ORDERED that
                            Commerce shall file its remand redetermination on or before September 23, 2019.
                            (Related Doc # 69 ). (Love, Cynthia) (Entered: 08/16/2019)
  08/26/2019             71 Form 18 Notice of Termination of Access to Business Proprietary Information filed on
                            behalf of Terence P. Stewart. Filed by Geert M. De Prest of Stewart and Stewart on behalf
                            of The Florida Tomato Exchange, United Steel, Paper and Forestry, Rubber,
                            Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                            CIO-CLC, The Timken Company, United Steel, Paper and Forestry, Rubber,
                            Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                            CIO, CLC, Packaging Corporation of America (De Prest, Geert) (Entered: 08/26/2019)
  08/26/2019             72 Form 18 Notice of Termination of Access to Business Proprietary Information filed on
                            behalf of Lane S. Hurewitz. Filed by Geert M. De Prest of Stewart and Stewart on behalf
                            of The Timken Company, United Steel, Paper and Forestry, Rubber, Manufacturing,
                            Energy, Allied Industrial and Service Workers International Union, AFL-CIO, CLC,
                            Packaging Corporation of America, United Steel, Paper and Forestry, Rubber,

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                                Manufacturing, Energy, Allied Industrial and Service Workers International Union, AFL-
                                CIO-CLC (De Prest, Geert) (Entered: 08/26/2019)
  08/29/2019             73 Form 18 Notice of Termination of Access to Business Proprietary Information filed on
                            behalf of Patrick J. McDonough. Filed by Geert M. De Prest of Stewart and Stewart on
                            behalf of The Florida Tomato Exchange, The Timken Company, United Steel, Paper and
                            Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service Workers
                            International Union, AFL-CIO, CLC, Packaging Corporation of America, United Steel,
                            Paper and Forestry, Rubber, Manufacturing, Energy, Allied Industrial and Service
                            Workers International Union, AFL-CIO-CLC (De Prest, Geert) (Entered: 08/29/2019)
  09/23/2019             74 Confidential Remand results filed by U.S. Department of Commerce . Filed by Paul Kent
                            Keith of U.S. Department of Commerce on behalf of United States. (Attachments: # 1
                            BPI Remand Redetermination)(Keith, Paul) (Entered: 09/23/2019)
  09/23/2019             75 [***NOTE: THIS DOCUMENT HAS BEEN SUPERSEDED BY DOC # 81***]
                            Public Remand results filed by U.S. Department of Commerce . Filed by Paul Kent Keith
                            of U.S. Department of Commerce on behalf of United States. (Attachments: # 1 Remand
                            Redetermination)(Keith, Paul) Modified on 10/10/2019 (Love, Cynthia). (Entered:
                            09/23/2019)
  10/01/2019             76 Consent Motion for errata to correct Public Version Of Remand Results. Filed with the
                            Court electronically on 9/23/2019 as document number 75 (related document(s) 75 ).
                            Responses due by 10/22/2019. Filed by John J. Todor of U.S. Department of Justice on
                            behalf of United States. (Attachments: # 1 Errata)(Todor, John) (Entered: 10/01/2019)
  10/07/2019             77 Administrative record for U.S. Department of Commerce filed regarding remand results.
                            Filed by Paul Kent Keith of U.S. Department of Commerce on behalf of United States.
                            (Attachments: # 1 Public Index, # 2 BPI Index, # 3 Declaration)(Keith, Paul) (Entered:
                            10/07/2019)
  10/08/2019             78 Unopposed Motion for extension of time until 11/22/2019 to file brief (Plaintiffs'
                            Comments on Remand Redetermination) (related document(s) 75 , 70 , 74 , 68 ).
                            Responses due by 10/29/2019. Filed by Jordan Charles Kahn of Grunfeld Desiderio
                            Lebowitz Silverman & Klestadt, LLP on behalf of Aeolus Tyre Co., Ltd., Guizhou Tyre
                            Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Attachments: # 1 Proposed Order)
                            (Kahn, Jordan) (Entered: 10/08/2019)
  10/09/2019             79 Order entered on 10/9/2019 granting Motion for extension of time to file Plaintiffs'
                            Comments on Remand Redetermination. ORDERED that Plaintiff' Comments on
                            Remand Redetermination shall be filed on or before November 22, 2019. (Related Doc #
                            78 ). (Love, Cynthia) (Entered: 10/09/2019)
  10/10/2019             80 Order entered on 10/10/2019. ORDERED that the corrected public version of the Final
                            Results of Redetermination Pursuant to Court Remand (Oct. 1, 2019), ECF No. 76-1,
                            shall be substituted for the previously submitted public version of the Final Results of
                            Redetermination Pursuant to Court Remand (Sept. 23, 2019), ECF No. 75-1 (now
                            sealed); and it is further ORDERED that defendant, by October 24, 2019, shall file a
                            submission informing the court of the circumstances that resulted in the occurrence that is
                            the subject of this Order and the preventive actions that have been or will be taken to
                            ensure that officials of the International Trade Administration comply with all
                            requirements for the safeguarding of confidential information with respect to future
                            submissions. See USCIT R. 73.2(c)(1). This submission may be filed under seal, with a
                            corresponding public version, if it is deemed necessary and appropriate to do so.(Related
                            Doc # 76 ). (Love, Cynthia) (Entered: 10/10/2019)



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  10/10/2019             81 Final Remand results filed by Department of Commerce . (Corrected public version).
                            (Love, Cynthia) (Entered: 10/10/2019)
  10/24/2019             82 Response to Court's Request/Order Of October 10, 2019. Filed by John J. Todor of U.S.
                            Department of Justice on behalf of United States. (Todor, John) (Entered: 10/24/2019)
  11/22/2019             83 Comments on remand results (related document(s) 81 ). Filed by Richard Preston Ferrin
                            of Drinker Biddle & Reath, LLP on behalf of Trelleborg Wheel Systems (Xingtai) Co.,
                            Ltd., Xuzhou Xugong Tyres Co., Ltd.. (Ferrin, Richard) (Entered: 11/22/2019)
  11/22/2019             84 Confidential Comments on remand results (related document(s) 74 ). Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Kahn, Jordan)
                            (Entered: 11/22/2019)
  11/22/2019             85 Public Comments on remand results (related document(s) 84 , 81 ). Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Kahn, Jordan)
                            (Entered: 11/22/2019)
  11/22/2019             86 Confidential Comments on remand results (related document(s) 74 ). Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Aeolus Tyre Co., Ltd.. (Kahn, Jordan) (Entered: 11/22/2019)
  11/22/2019             87 Public Comments on remand results (related document(s) 86 , 81 ). Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of
                            Aeolus Tyre Co., Ltd.. (Kahn, Jordan) (Entered: 11/22/2019)
  11/22/2019             88 Comments on remand results (related document(s) 81 ). Filed by Jordan Charles Kahn of
                            Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Qingdao Free
                            Trade Zone Full-World International Trading Co., Ltd., Qingdao Qihang Tyre Co., Ltd..
                            (Kahn, Jordan) (Entered: 11/22/2019)
  12/02/2019             89 Consent Motion for extension of time until 1/23/2020 to File Response To Comments On
                            The Remand Redetermination (related document(s) 86 , 87 , 88 , 83 , 85 , 84 ). Responses
                            due by 12/23/2019. Filed by John J. Todor of U.S. Department of Justice on behalf of
                            United States.(Todor, John) (Entered: 12/02/2019)
  12/02/2019             90 Order entered on 12/2/2019, granting consent Motion for extension of time. ORDERED
                            that defendant shall file its response to comments on the remand redetermination on or
                            before January 23, 2020. (Related Doc # 89 ) (Taronji, Steve) (Entered: 12/02/2019)
  01/16/2020             91 Consent Motion for extension of time until 2/7/2020 to File Response To Comments On
                            The Remand Redetermination (related document(s) 86 , 87 , 88 , 83 , 85 , 84 ). Responses
                            due by 2/6/2020. Filed by John J. Todor of U.S. Department of Justice on behalf of
                            United States.(Todor, John) (Entered: 01/16/2020)
  01/17/2020             92 Order entered on 1/17/2020 granting Motion for extension of time (Related Doc # 91 ).
                            ORDERED that defendant shall file its response to comments on the remand
                            redetermination on or before February 7, 2020. (Love, Cynthia) (Entered: 01/17/2020)
  01/31/2020             93 Consent Motion for extension of time until 2/21/2020 to file response to comments on
                            remand determination. Responses due by 2/21/2020. Filed by Vincent dePaul Phillips, Jr
                            of U.S. Department of Justice on behalf of United States.(Phillips, Vincent) (Entered:
                            01/31/2020)
  01/31/2020             94 Order entered on 1/31/2020 granting Motion for extension of time (Related Doc # 93 ).
                            ORDERED that defendant shall file its response to comments on the remand

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                                determination on or before February 21, 2020. (Love, Cynthia) (Entered: 01/31/2020)
  02/03/2020             95 Form 11 Notice of Appearance of Richard P. Ferrin, to reflect name change of law firm.
                            Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of
                            Trelleborg Wheel Systems (Xingtai) Co., Ltd., Xuzhou Xugong Tyres Co., Ltd..(Ferrin,
                            Richard) (Entered: 02/03/2020)
  02/03/2020             96 Form 11 Notice of Appearance of Douglas J. Heffner, to reflect name change of law firm.
                            Filed by Richard Preston Ferrin of Faegre Drinker Biddle & Reath, LLP on behalf of
                            Trelleborg Wheel Systems (Xingtai) Co., Ltd., Xuzhou Xugong Tyres Co., Ltd..(Ferrin,
                            Richard) (Entered: 02/03/2020)
  02/21/2020             97 Confidential Reply to comments on remand results (related document(s) 86 , 87 , 88 , 83 ,
                            85 , 84 ). Filed by John J. Todor of U.S. Department of Justice on behalf of United States.
                            (Todor, John) (Entered: 02/21/2020)
  02/24/2020             98 Public Reply to comments on remand results (related document(s) 86 , 87 , 88 , 83 , 84 ).
                            Filed by John J. Todor of U.S. Department of Justice on behalf of United States. (Todor,
                            John) (Entered: 02/24/2020)
  03/06/2020             99 Confidential Joint Appendix (Part 1) (related document(s) 86 , 87 , 85 , 97 , 84 , 98 ).
                            Filed by Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt,
                            LLP on behalf of Aeolus Tyre Co., Ltd., Guizhou Tyre Co., Ltd., Guizhou Tyre Import
                            and Export Co., Ltd.. (Attachments: # 1 Appendix (Part 2))(Kahn, Jordan) (Entered:
                            03/06/2020)
  03/06/2020            100 Joint Appendix (PUBLIC VERSION) (related document(s) 99 ). Filed by Jordan Charles
                            Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Aeolus
                            Tyre Co., Ltd., Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd..
                            (Kahn, Jordan) (Entered: 03/06/2020)
  04/30/2021            101 Notice of Supplemental Authority filed. . Filed by Jordan Charles Kahn of Grunfeld
                            Desiderio Lebowitz Silverman & Klestadt, LLP on behalf of Guizhou Tyre Co., Ltd.,
                            Guizhou Tyre Import and Export Co., Ltd..(Kahn, Jordan) (Entered: 04/30/2021)
  05/14/2021            102 Order entered on 5/14/2021, Slip opinion: 21-60. ORDERED that the Remand
                            Redetermination be, and hereby is, sustained with respect to the assignment of a
                            redetermined weighted average dumping margin of 16.78% to mandatory respondent
                            Xugong and the assignment of a rate of 16.78% to separate rate respondents Full World,
                            Qingdao Qihang, Trelleborg, and Zhongwei; it is further ORDERED that Commerce
                            submit a second determination upon remand (Second Remand Redetermination) in which
                            it reconsiders its decisions not to accord separate rate status to Aeolus and GTC and
                            revises the antidumping duty rates applied to these respondents as may be required by its
                            reconsideration of those decisions; it is further ORDERED that Commerce shall submit
                            its Second Remand Redetermination within 90 days of the date of this Opinion and
                            Order; it is further ORDERED that comments of plaintiffs on the Second Remand
                            Redetermination must be filed with the court no later than 30 days after the filing of the
                            Second Remand Redetermination; and it is further ORDERED that the response of
                            defendant to the aforementioned comments must be filed no later than 15 days from the
                            date on which the last comment is filed. (related document(s) 53 , 74 , 48 , 54 , 49 , 50 ,
                            81 ).(Love, Cynthia) (Entered: 05/14/2021)
  06/10/2021            103 Joint Motion to sever and enter judgment. Responses due by 7/15/2021. Filed by Jordan
                            Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP, Richard
                            Preston Ferrin of Faegre Drinker Biddle & Reath, LLP, Robert Kevin Williams of Clark
                            Hill PLC on behalf of Qingdao Free Trade Zone Full-World International Trading Co.,
                            Ltd., Qingdao Qihang Tyre Co., Ltd., Trelleborg Wheel Systems (Xingtai) Co., Ltd.,

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                                Weihai Zhongwei Rubber Co., Ltd., Xuzhou Xugong Tyres Co., Ltd.. (Attachments: # 1
                                Proposed Order) (Kahn, Jordan) Modified on 7/6/2021 (Chien, Jason). (Entered:
                                06/10/2021)
  07/06/2021            104 Response to motion To Sever and Enter Judgment, Or, In The Alternative, Motion, Out Of
                            Time, For Extension Of Time (related document(s) 103 ). Replies due by 7/27/2021. Filed
                            by John J. Todor of U.S. Department of Justice on behalf of United States. (Attachments:
                            # 1 Exhibit A)(Todor, John) (Entered: 07/06/2021)
  08/05/2021            105 Consent Motion for extension of time until 9/10/2021 to For The Department Of
                            Commerce To File Remand Redetermination (related document(s) 102 ). Responses due
                            by 8/26/2021. Filed by John J. Todor of U.S. Department of Justice on behalf of United
                            States.(Todor, John) (Entered: 08/05/2021)
  08/06/2021            106 Order entered on 8/6/2021 granting Motion for extension of time (Related Doc # 105 ).
                            ORDERED that the United States Department of Commerce shall file its remand
                            redetermination on or before September 10, 2021. (Love, Cynthia) (Entered: 08/06/2021)
  09/07/2021            107 Consent Motion for extension of time until 9/24/2021 to For The Department Of
                            Commerce To File Its Remand Redetermination (related document(s) 102 , 106 ).
                            Responses due by 9/28/2021. Filed by John J. Todor of U.S. Department of Justice on
                            behalf of United States.(Todor, John) (Entered: 09/07/2021)
  09/08/2021            108 Order entered on 9/8/2021 granting Motion for extension of time (Related Doc # 107 ).
                            ORDERED that the United States Department of Commerce shall file its remand
                            redetermination on or before September 24, 2021.(Love, Cynthia) (Entered: 09/08/2021)
  09/24/2021            109 Confidential Remand results filed by U.S. Department of Commerce . Filed by Paul Kent
                            Keith of U.S. Department of Commerce on behalf of United States. (Attachments: # 1
                            BPI Remand Results)(Keith, Paul) (Entered: 09/24/2021)
  09/24/2021            110 Public Remand results filed by U.S. Department of Commerce . Filed by Paul Kent Keith
                            of U.S. Department of Commerce on behalf of United States. (Attachments: # 1 Remand
                            Results Public Version)(Keith, Paul) (Entered: 09/24/2021)
  10/07/2021            111 Administrative record for U.S. Department of Commerce filed regarding remand results.
                            Filed by Paul Kent Keith of U.S. Department of Commerce on behalf of United States.
                            (Attachments: # 1 Public Record Index, # 2 BPI Record Index, # 3 Declaration)(Keith,
                            Paul) (Entered: 10/07/2021)
  10/11/2021            112 Unopposed Motion for extension of time until 11/24/2021 to file brief (Plaintiffs'
                            Comments on Second Remand Redetermination) (related document(s) 110 , 109 , 102 ,
                            108 ). Responses due by 11/1/2021. Filed by Jordan Charles Kahn of Grunfeld Desiderio
                            Lebowitz Silverman & Klestadt, LLP on behalf of Aeolus Tyre Co., Ltd., Guizhou Tyre
                            Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Attachments: # 1 Proposed Order)
                            (Kahn, Jordan) (Entered: 10/11/2021)
  10/12/2021            113 Order entered on 10/12/2021 granting Motion for extension of time to file brief (Related
                            Doc # 112 ). ORDERED that the Unopposed Motion for an Extension of Time to File
                            Plaintiffs' Comments on Second Remand Redetermination is GRANTED; and it is further
                            ORDERED that Plaintiffs' Comments on Second Remand Redetermination shall be filed
                            on or before November 24, 2021. (Love, Cynthia) (Entered: 10/12/2021)
  11/24/2021            114 Confidential Comments on remand results (related document(s) 110 , 109 ). Filed by
                            Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on
                            behalf of Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Kahn,
                            Jordan) (Entered: 11/24/2021)


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  11/24/2021            115 Public Comments on remand results (related document(s) 110 , 109 , 114 ). Filed by
                            Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on
                            behalf of Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co., Ltd.. (Kahn,
                            Jordan) (Entered: 11/24/2021)
  11/24/2021            116 Confidential Comments on remand results (related document(s) 110 , 109 ). Filed by
                            Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on
                            behalf of Aeolus Tyre Co., Ltd.. (Kahn, Jordan) (Entered: 11/24/2021)
  11/24/2021            117 Public Comments on remand results (related document(s) 110 , 109 , 116 ). Filed by
                            Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt, LLP on
                            behalf of Aeolus Tyre Co., Ltd.. (Kahn, Jordan) (Entered: 11/24/2021)
  12/06/2021            118 Motion for extension of time until 1/14/2022 to File Response to Comments on the
                            Remand Redetermination (related document(s) 115 , 116 , 102 , 114 , 117 ). Responses
                            due by 12/27/2021. Filed by John J. Todor of U.S. Department of Justice on behalf of
                            United States.(Todor, John) (Entered: 12/06/2021)
  12/07/2021            119 Order entered on 12/7/2021 granting Motion for extension of time. (Related Doc # 118 ).
                            ORDERED that defendant shall file its response to comments on the remand
                            redetermination on or before January 14, 2022. (Love, Cynthia) (Entered: 12/07/2021)
  01/12/2022            120 Consent Motion for extension of time until 1/21/2022 to File Response To Comments On
                            The Remand Redetermination (related document(s) 115 , 116 , 114 , 117 ). Responses due
                            by 2/2/2022. Filed by John J. Todor of U.S. Department of Justice on behalf of United
                            States.(Todor, John) (Entered: 01/12/2022)
  01/13/2022            121 Order entered on 1/13/2022 granting Motion for extension of time. (Related Doc # 120 ).
                            ORDERED that defendant shall file its response to comments on the remand
                            redetermination on or before January 21, 2022. (Love, Cynthia) (Entered: 01/13/2022)
  01/21/2022            122 Confidential Reply to comments on remand results (related document(s) 115 , 116 , 114 ,
                            117 ). Filed by John J. Todor of U.S. Department of Justice on behalf of United States.
                            (Todor, John) (Entered: 01/21/2022)
  01/24/2022            123 Public Reply to comments on remand results (related document(s) 115 , 116 , 122 , 117 ).
                            Filed by John J. Todor of U.S. Department of Justice on behalf of United States. (Todor,
                            John) (Entered: 01/24/2022)
  02/04/2022            124 Confidential Joint Appendix (Part I: Tabs 1-4) (related document(s) 109 , 116 , 122 , 114
                            ). Filed by Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt,
                            LLP on behalf of Aeolus Tyre Co., Ltd., Guizhou Tyre Co., Ltd., Guizhou Tyre Import
                            and Export Co., Ltd.. (Attachments: # 1 (Part II: Tabs 5-16))(Kahn, Jordan) (Entered:
                            02/04/2022)
  02/04/2022            125 Joint Appendix -- PUBLIC VERSION (related document(s) 110 , 115 , 123 , 124 , 117 ).
                            Filed by Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman & Klestadt,
                            LLP on behalf of Aeolus Tyre Co., Ltd., Guizhou Tyre Co., Ltd., Guizhou Tyre Import
                            and Export Co., Ltd.. (Kahn, Jordan) (Entered: 02/04/2022)
  05/18/2023            126 Order entered on 5/18/2023 denying Motion to sever. Based on the considerations
                            discussed above, and the opinion of the court issued this day, the court will proceed to
                            enter a judgment that will end this action as to all claims of all parties. Therefore, upon
                            consideration of all papers and proceedings had herein, and with due deliberation, it is
                            hereby ORDERED that the Motion to Sever be, and hereby is, dismissed as moot.
                            (Related Doc # 103 ) (Hugh, Lewis) (Entered: 05/18/2023)


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  05/18/2023            127 Order entered on 5/18/2023 Slip-Op. 23-79: Sustaining an agency decision issued in
                            response to court order in litigation contesting results of an administrative review of an
                            antidumping duty order on off-the-road tires from the People's Republic of China.
                            Commerce applied a permissible methodology and reached findings supported by
                            substantial evidence in determining that Aeolus and GTC did not qualify for separate rate
                            status. Therefore, the court will enter judgment sustaining the Second Remand
                            Redetermination. (related document(s) 110 , 109 , 126 , 103 ).(Hugh, Lewis) (Entered:
                            05/18/2023)
  05/18/2023            128 Order entered on 5/18/2023 Judgment. Upon consideration of the "Second Remand
                            Redetermination" issued by the International Trade Administration, U.S. Department of
                            Commerce ("Commerce"), Final Results of Redetermination Pursuant to Ct. Remand
                            (Sept. 24, 2021), ECF Nos. 109 (Conf.), 110 (Public), issued in response to the court's
                            Opinion and Order in Guizhou Tyre Co. v. United States, 45 CIT __, 519 F. Supp. 3d
                            1248 (2021) (Guizhou II"), the "First Remand Redetermination," Final Results of
                            Redetermination Pursuant to Ct. Remand (Oct. 10, 2019), ECF Nos. 74 (Conf.), 81
                            (Public), issued by Commerce in response to the court's opinion and order in Guizhou
                            Tyre Co. v. United States, 43 CIT __, 389 F. Supp. 3d 1350 (2019) (Guizhou I") and all
                            other filings and proceedings had herein, in conformity with the court's Order and with
                            the court's Opinion, both issued this day, and upon due deliberation, it is hereby
                            ORDERED that the Second Remand Redetermination be, and hereby is, sustained; it is
                            further ORDERED that, in conformity with the court's Opinion and Order in Guizhou I
                            and the First Remand Redetermination, the assignment of a redetermined weighted
                            average dumping margin of 16.78% to Xuzhou Xugong Tyres Co., Ltd., Xuzhou Armour
                            Rubber Co. Ltd., and Xuzhou Hanbang Tyre Co., Ltd. (collectively, "Xugong"), and the
                            assignment of 16.78% rates to Qingdao Qihang Tyre Co., Ltd., Qingdao Free Trade Zone
                            Full-World International Trading Co., Ltd., Trelleborg Wheel Systems (Xingtai) China,
                            Co. Ltd., and Weihai Zhongwei Rubber Co., Ltd. be, and hereby are, sustained; and it is
                            further ORDERED that the entries of merchandise that are at issue in this litigation shall
                            be liquidated in accordance with the final and conclusive court decision in this action.
                            (related document(s) 126 , 127 ) (Hugh, Lewis) (Entered: 05/18/2023)
  07/14/2023            129 Notice of Appeal of judgment of 05/18/2023 filed. (related document(s) 128 , 102 , 68 ,
                            127 ). Filed by Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman &
                            Klestadt, LLP on behalf of Guizhou Tyre Co., Ltd., Guizhou Tyre Import and Export Co.,
                            Ltd..(Kahn, Jordan) (Entered: 07/14/2023)
  07/14/2023            130 Notice of Appeal of judgment of 05/18/2023 filed. (related document(s) 128 , 102 , 68 ,
                            127 ). Filed by Jordan Charles Kahn of Grunfeld Desiderio Lebowitz Silverman &
                            Klestadt, LLP on behalf of Aeolus Tyre Co., Ltd..(Kahn, Jordan) (Entered: 07/14/2023)
  07/24/2023            131 Appeal of Plaintiffs Guizhou Tyre Co., Ltd. and Guizhou Tyre Import and Export Co.,
                            Ltd. docketed on 7/24/2023 by the CAFC as appeal no. 2023-2163 (related document(s)
                            129 ). (Chien, Jason) Modified on 7/24/2023 (Chien, Jason). (Entered: 07/24/2023)
  07/24/2023            132 Appeal of Aeolus Tyre Co., Ltd. docketed on 7/24/2023 by the CAFC as appeal no. 2023-
                            2164 (related document(s) 130 ). (Chien, Jason) (Entered: 07/24/2023)



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